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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              MCALLEN DIVISION


THE GENERAL LAND OFFICE OF THE STATE
OF TEXAS, and GEORGE P. BUSH, in his official
capacity as Commissioner of the Texas General Land
Office,

                          Plaintiffs,
                                                         No. 7:21-cv-00272
               v.                                        Hon. Micaela Alvarez

JOSEPH R. BIDEN, in his official capacity as President
of the United States, et al.,

                          Defendants.




THE STATE OF MISSOURI; THE STATE OF
TEXAS,

                          Plaintiffs,
                                                         No. 7:21-cv-00420
               v.                                        (formerly No. 6:21-cv-00052)
                                                         Hon. Micaela Alvarez
JOSEPH R. BIDEN, in his official capacity as President
of the United States, et al.

                          Defendants.



         OPPOSITION TO MOTION FOR A PRELIMINARY INJUNCTION
                     BY THE MISSOURI PLAINTIFFS
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                                         INTRODUCTION

1.      On the first day of his Administration, President Biden signed a Proclamation to effect a

reassessment of federal policy with respect to the construction of a wall along the southern border.

The Proclamation terminated the declaration of a national emergency issued by President Trump that

had been relied upon to divert military construction funding to the border wall; directed federal

agencies to pause ongoing construction activities to the extent permitted by law; and ordered agencies

to reassess their current border wall construction projects and develop plans for the “redirection of

funds concerning the southern border wall, as appropriate and consistent with applicable law.”

Termination of Emergency with Respect to the Southern Boarder of the United States and Redirection

of Funds Diverted to the Boarder Wall Construction, Proclamation No. 10142, 86 Fed. Reg. 7225,

7225 (Jan. 20, 2021) [hereinafter “Proclamation”]. The agencies, including the Department of

Homeland Security (“DHS”), completed those plans in June, and are now in the process of

implementing them. On October 8, 2021, US Customs & Border Patrol (“CBP”) announced its intent

to cancel remaining border barrier contracts in the Border Patrol’s Laredo and Rio Grande Valley

sectors in order to undergo environmental planning activities consistent with the DHS Plan. App.055.

2.      The States of Missouri and Texas (“States”) filed suit on October 21, 2021, to challenge these

decisions. They now seek a nationwide preliminary injunction that would forbid Defendants from

“enforcing and implementing” the Proclamation, require them to “obligate and spend the funds

appropriated for ‘construction of [a] barrier system along the southwest border,’” “enforce and

implement” construction of that system, and rescind the cancellation of border wall construction

contracts. States’ Proposed Order. There is no legal or factual basis for this Court to order that

extraordinary relief. Indeed, the States cannot satisfy any of the requisite criteria for obtaining a

preliminary injunction, and the Court should deny their motion.

3.      To begin with, the States cannot demonstrate that they are likely to succeed on the merits of

any of their claims, for four principal reasons. First, the States lack standing to challenge the policies

at issue here because they have not alleged an imminent injury-in-fact traceable to these policies and


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capable of redress by the Court. Second, Texas’s participation in this case violates the rule against

“claim splitting” because another executive branch agency of the State of Texas, the General Land

Office, has already sued Defendants regarding border barrier construction issues. As a result, the case

is likely subject to dismissal because Missouri has no right to sue in this Court absent the proper

joinder of Texas. Third, this Court has no jurisdiction over the States’ Administrative Procedure Act

(“APA”) claims because they challenge actions that are committed to agency discretion as a matter of

law, or that are not final agency actions. Finally, even if the States are able to overcome all of these

formidable obstacles to their suit, Defendants would still prevail on the States’ substantive claims.
Defendants’ decision to pause further construction while engaging in more environmental planning

and stakeholder engagement does not violate the Constitution, does not violate the relevant

appropriations statutes or the Impoundment Control Act, and is not arbitrary or capricious under the

APA’s deferential standard of review. This position is supported by the Government Accountability

Office’s conclusion that DHS’s actions were an appropriate programmatic change in the use of federal

funding and did not violate federal appropriations laws. See Matter of: Office of Management and

Budget and U.S. Dep’t of Homeland Security–Pause of Border Barrier Construction and Obligations,

B-333110.1, 2021 WL 2451823 (June 15, 2021) [hereinafter GAO Opinion].

4.      A preliminary injunction also requires a showing of irreparable harm in the absence of

immediate relief from the Court, and the States’ request fails on this score, too. The fiscal year 2020

funds at issue in this case do not expire until September 30, 2024, while fiscal year 2021 funds do not

expire until September 30, 2025. That is the date by which Congress asked that funds be obligated

(for example, through the awarding of a contract), not the date by which the relevant infrastructure

must be built. The States should not be able to achieve, in equity, a construction or spending timetable

that Congress never imposed on DHS. The States waited nine months after the Proclamation issued

to file their lawsuit, and they will not be prejudiced if Defendants’ planning activities continue while

this case proceeds to a merits determination.

5.      Finally, the balance of equities clearly favors Defendants. The parochial interests of the States

in reducing the amount of money they spend on social programs for immigrants and taxing

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government contractors are heavily outweighed by Defendants’ interest in engaging in additional

environmental review and stakeholder consultation to mitigate the potentially harmful effects of

border barrier construction. It is Defendants, not the States, who bear responsibility for setting

immigration policy and balancing the manner in which federal funds are expended to pursue policy

goals. A preliminary injunction would infringe on Defendants’ ability to carry out that responsibility.

It would also harm entities, like other border states and landowners, who are impacted by border wall

policy and whose interests are not represented in these proceedings.

6.      Accordingly, the Court should deny the States’ motion for a preliminary injunction.

                                          BACKGROUND

        DHS’s Statutory Authority to Construct Border Infrastructure and Undertake
        Environmental Planning
7.      The Illegal Immigration Reform and Immigrant Responsibility Act of 1996, as amended,

grants broad discretionary authority to the Department of Homeland Security to construct barrier

infrastructure along the border of the United States. See Pub. L. No. 104-208, Div. C, Title I § 102,

110 Stat. 3009 (Sept. 30, 1996), as amended by Dep’t of Homeland Security Appropriations Act, 2008,

Pub. L. No. 110-161, Div. E, Title V § 564, 121 Stat. 1844, 2090 (Dec. 26, 2007); Secure Fence Act of

2006, Pub. L. No. 109-367, § 3, 120 Stat. 2638 (Oct. 26, 2006); REAL ID Act of 2005, Pub. L. No.

109-13, Div. B, Title I § 102, 119 Stat. 231, 302, 306 (codified at 8 U.S.C. § 1103 note) [hereinafter

“IIRIRA”]. Section 102(a) of IIRIRA states that the Secretary of Homeland Security “shall take such

actions as may be necessary to install additional physical barriers and roads (including the removal of

obstacles to detection of illegal entrants) in the vicinity of the United States border to deter illegal

crossings in areas of high illegal entry into the United States.” The Secretary, however, is not required

to construct border infrastructure at any particular location. Congress vested the Secretary with

discretion to determine both where and what type of infrastructure is appropriate. See IIRIRA

§ 102(b)(1)(D). The Secretary is free to determine that the use or placement of “fencing, physical

barriers, roads, lighting, cameras, and sensors in a particular location” is not “the most appropriate

means to achieve and maintain operational control over the international border” at that location. Id.;

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see also United States v. Arizona, No. CV 10-1413-PHX-SRB, 2011 WL 13137062, at *8 (D. Ariz. Oct.

21, 2011) (dismissing IIRIRA claim brought by State of Arizona to compel border wall construction).

8.      The Secretary also has the “authority to waive all legal requirements such Secretary, in such

Secretary’s sole discretion, determines necessary to ensure expeditious construction of the barriers and

roads under this section.”       IIRIRA § 102(c)(1).       But even where the Secretary has waived

environmental and other laws, DHS still consults with relevant stakeholders about the impacts of

border infrastructure construction. IIRIRA requires that the Secretary “shall consult with the

Secretary of the Interior, the Secretary of Agriculture, States, local governments, Indian tribes, and

property owners in the United States to minimize the impact on the environment, culture, commerce,

and quality of life for the communities and residents located near the sites at which such fencing is to

be constructed.” IIRIRA § 102(b)(1)(C).
9.      As explained at a congressional hearing addressing border wall construction, DHS does not

“turn[] its back on environmental stewardship or continued consultation with stakeholders.” Walls &

Waivers: Expedited Construction of the Southern Border Wall and Collateral Impacts to Communities and the

Environment: Joint Oversight Field Hearing Before Subcommittees to H. Comm. on Natural Resources, 110th Cong.

25    (April   28,    2008),    www.govinfo.gov/content/pkg/CHRG-110hhrg41959/html/CHRG-

110hhrg41959.htm (statement of Ronald D. Vitiello, United States Customs and Border Protection

Chief Patrol Officer, Rio Grande Valley Sector). On the contrary, DHS solicits and responds to

feedback from a wide variety of stakeholders to inform its border infrastructure “planning efforts,”

which includes both engineering and environmental assessments. Id.; see also id. (statement of Rick

Shultz, Nat’l Borderland Coordinator, U.S. Dep’t of the Interior) (explaining how the consultation

process minimizes impacts on environmental and cultural resources near border infrastructure

construction areas); In re Border Infrastructure Env’t Litig., 284 F. Supp. 3d 1092, 1124–25 (S.D. Cal. 2018)

(summarizing DHS’s consultation efforts for various border barrier projects), aff’d, 915 F.3d 1213 (9th

Cir. 2019). For projects covered by an IIRIRA waiver, DHS typically prepares Environmental

Stewardship Plans, “which provide a comprehensive analysis of the potential environmental impacts”

associated with border infrastructure construction and include appropriate best management practices

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to avoid or minimize potential environmental impacts from construction. Cnty. of El Paso v. Chertoff,

No. EP-08-CA-196-FM, 2008 WL 4372693, at *11 (W.D. Tex. Aug. 29, 2008) (citation omitted); see

In re Border Infrastructure Env’t Litig., 284 F. Supp. 3d at 1124–25.

        Congressional Appropriations to DHS for Border Infrastructure and Environmental
        Planning
10.     Congress has regularly appropriated funding for border infrastructure projects in DHS’s

annual appropriations act. As relevant here, in fiscal years 2020 and 2021, Congress provided border

wall construction funding through procurement, construction, and improvement appropriations for

U.S. Customs and Border Protection (“CBP”). Specifically, Congress appropriated $1.375 billion “for
the construction of barrier system along the southwest border.” DHS Appropriations Act, 2020, Pub

L. No. 116-93, Div. D, § 209(a)(1), 133 Stat. 2317, 2512 (2019); DHS Appropriations Act, 2021, Pub

L. No. 116-260, Div. F, § 210, 134 Stat. 1182, 1456–57 (2020) (appropriating “an amount equal to the

amount made available in section 209(a)(1) of division D of the Consolidated Appropriations Act,

2020 (Public Law 116–93) . . . for the same purposes as the amount provided under such section in

such Act”).

11.     The planning and execution required for large-scale barrier construction projects can be a

complex and time-consuming process. Congress gave DHS five years to obligate its fiscal year 2020

and 2021 border infrastructure funds. See DHS Appropriations Act, 2020, Pub L. No. 116-93, Div.

D, 133 Stat. at 2506 (stating that fiscal year 2020 funds “shall remain available until September 30,

2024”); DHS Appropriations Act, 2021, Pub L. No. 116-260, Div. F, 134 Stat. at 1452 (stating that

fiscal year 2021 funds “shall remain available until September 30, 2025”). The placing of time limits

on appropriations is one of the primary ways Congress exercises its Appropriations power. Congress

generally limits the availability of appropriations to a one-year period for the fiscal year in which the

funds are appropriated. See 1 U.S.C. § 105; 31 U.S.C. § 1301(c); DHS Appropriations Act, 2020, Pub

L. No. 116-93, Div. D, § 501, 133 Stat. at 2525; DHS Appropriations Act, 2021, Pub L. No. 116-260,

Div. F, 134 Stat. at 1468. Here, however, Congress expressly authorized DHS to obligate its fiscal

year 2020 and 2021 border wall construction funds over a five-year period, ending at the conclusion

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of fiscal years 2024 and 2025, respectively. 1 Congress also did not place any limitations on the pace

of DHS’s obligations, such as requiring DHS to obligate a certain amount or percentage of funds each

fiscal year.

12.     In appropriating funds for border wall construction, Congress recognized the potential

environmental consequences of DHS’s construction activities. Congress therefore required DHS to

submit reports addressing environmental planning. In fiscal years 2017 and 2018, Congress directed

DHS to submit an annual plan addressing, inter alia, “the environmental impacts, including on wildlife,

of the construction and placement of physical barriers planned along the Southwest border” and the
“effects on communities and property owners near areas of infrastructure deployment.” See DHS

Appropriations Act, 2017, Pub. L. No. 115-31, Div. F, Title VI, 131 Stat. 135, 434 (2017); DHS

Appropriations Act, 2018, Pub. L. No. 115-141, Div. F, § 230, 132 Stat. 348, 617–17 (2018). Congress

required DHS to update its plan in subsequent fiscal years, including the environmental analysis of

border barrier construction. See, e.g., Department of Homeland Security Appropriations Act, 2020,

Pub. L. No. 116-93, § 209(e), 133 Stat. at 2512.

13.     Congress also promoted environmental stewardship by prohibiting DHS from using its

appropriated funds to construct border infrastructure in environmentally sensitive areas along the

border, including several locations near McAllen, Texas. See, e.g., DHS Appropriations Act, 2019, Pub.

L. No. 116-6, 133 Stat. 13, 28 (2019) (prohibiting expenditure of funds for “construction of pedestrian

fencing” in the National Butterfly Center, La Lomita Historical Park, and the Bentsen-Rio Grande

Valley State Park).

        President Trump’s Efforts to Obtain Additional Border Wall Funding
14.     In late 2018 then-President Trump and Congress reached an impasse over the amount of

money Congress would appropriate to DHS for border wall construction. The President sought $5.7


        1
          An obligation is a “commitment that creates a legal liability of the government for the
payment of goods and services ordered or received . . . . ” Maine Cmty. Health Options v. United States,
140 S. Ct. 1308, 1319 (2020) (internal quotations and citation omitted); see 31 U.S.C. § 1502(a)
(stating that funds appropriated for a definite time period are “available only for payment of
expenses properly incurred during the period of availability”).
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billion “for construction of a steel barrier for the Southwest border,” but Congress refused to

appropriate that amount. See Letter from Acting Dir., Office of Mgmt. & Budget to Senate Comm.

on Appropriations (Jan. 6, 2019), 165 Cong. Rec. S1569-02, S1570 (Feb. 28, 2019). Rather, on

February 15, 2019, with the passage of the Consolidated Appropriations Act of 2019 (“CAA”), see

Pub. L. No. 116-6, 133 Stat. at 28, Congress appropriated $1.375 billion to DHS “for the construction

of primary pedestrian fencing, including levee pedestrian fencing, in the Rio Grande Valley Sector” of

Texas. Id. 133 Stat. at 28.

15.     On the same day that President Trump signed the CAA into law, he declared a national
emergency authorizing the use of the armed forces at the southern border.                 See Presidential

Proclamation on Declaring a National Emergency Concerning the Southern Border of the United

States, 84 Fed. Reg. 4949 (Feb. 20, 2019). He also released a plan to provide additional funding for

border wall construction by redirecting funds from other sources within the Department of Defense

(“DoD”) and the Department of the Treasury. See President Donald J. Trump’s Border Security

Victory, at 2019 WL 643814 (Feb. 15, 2019). The President’s plan allocated: (1) approximately $601

million from the Treasury Forfeiture Fund (31 U.S.C. § 9705); (2) $2.5 billion from fiscal year 2019

DoD funds transferred to support counterdrug activities (10 U.S.C. § 284); and (2) $3.6 billion from

other DoD military construction projects to border barrier military construction projects to be

undertaken pursuant 10 U.S.C. § 2808, as made available through the President’s declaration of a

national emergency.

16.     The national emergency declaration and the subsequent actions by various federal agencies to

undertake border wall construction using redirected DoD and Treasury funds were immediately

challenged in multiple lawsuits around the country. See, e.g., El Paso Cnty. v. Trump, 982 F.3d 332 (5th

Cir. 2020), cert. denied sub nom. El Paso Cnty. v. Biden, 141 S. Ct. 2885 (2021); Sierra Club v. Trump, 963

F.3d 874, 880 (9th Cir.), cert. granted, 141 S. Ct. 618 (2020), and vacated and remanded sub nom. Biden v.

Sierra Club, ___S. Ct.___, 2021 WL 2742775 (U.S. July 2, 2021); Sierra Club v. Trump, 977 F.3d 853 (9th

Cir. 2020), cert. granted and vacated and remanded sub nom. Biden v. Sierra Club, __S. Ct.___, 2021 WL

4507558 (U.S. Oct. 4, 2021); U.S. House of Representatives v. Mnuchin, 976 F.3d 1 (D.C. Cir. 2020), cert.

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granted and judgment vacated sub. nom. Yellen v. House of Representatives, __S. Ct.___, 2021 WL 4733282 (U.S.

Oct. 12, 2021). In July 2019, the Supreme Court granted a stay of a permanent injunction issued by a

district court for the Northern District of California that would have stopped construction of border

wall projects undertaken pursuant to DoD’s counterdrug authority using transferred funds. See Trump

v. Sierra Club, 140 S. Ct. 1 (2019), denying mot. to lift stay, 140 S. Ct. 2620 (2020). Foremost “[a]mong

the reasons” for granting a stay, the Supreme Court emphasized the Government had “made a

sufficient showing at this stage that the plaintiffs have no cause of action to obtain review” of DoD’s

compliance with an appropriations transfer statute, namely section 8005 of the DoD Appropriations
Act of 2019. Id.

17.     Following the Supreme Court’s decision, lower courts either denied or stayed injunctions

prohibiting construction of other border barrier projects, thus enabling construction of various

projects to continue during the pending litigation. See, e.g., El Paso County v. Trump, No. 19-51144 (5th

Cir. Jan. 8, 2020) (staying injunction against projects undertaken pursuant to 10 U.S.C. § 2808); La

Posta Band of Diegueno Mission Indians of La Posta Reservation. v. Trump, 828 F. App’x 489, 490 (9th Cir.

2020) (affirming denial of preliminary injunction against construction pursuant to 10 U.S.C. § 284).

        President Biden’s Proclamation Terminating the National Emergency at the
        Southern Border and Directing Agencies to Develop Border Wall Funding Plans
18.     On his first day in office, President Biden issued a Proclamation declaring that “[i]t shall be

the policy of [his] Administration that no more American taxpayer dollars be diverted to construct a

border wall.” See Proclamation, 86 Fed. Reg. at 7225. The Proclamation stated that the declaration

of a national emergency at the southern border “is terminated and that the authorities invoked in that

proclamation will no longer be used to construct a wall at the southern border.” Id.

19.     The President also directed a “careful review of all resources appropriated or redirected to

construct a southern border wall.” Id. To facilitate that review, the President ordered the Secretary

of Defense and the Secretary of Homeland Security to “pause work on each construction project on

the southern border wall, to the extent permitted by law, as soon as possible but in no case later than

seven days from the date of [the] proclamation.” Id. He also ordered the Secretaries to “pause

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immediately the obligation of funds related to construction of the southern border wall, to the extent

permitted by law.” Id. The Secretaries were authorized to make exceptions to the pause in limited

circumstances, including “where an exception is required to ensure that funds appropriated by the

Congress fulfill their intended purpose.” Id. at 7226.

20.      During the pause, the President ordered the Secretaries, in coordination with other federal

agencies, to develop a plan “for the redirection of funds concerning the southern border wall, as

appropriate and consistent with applicable law.” Id. The Proclamation stated that the plan “shall

include consideration of terminating or repurposing contracts with private contractors engaged in wall

construction, while providing for the expenditure of any funds that the Congress expressly

appropriated for wall construction, consistent with their appropriated purpose.” Id. “After the plan

is developed, the Secretary of Defense and the Secretary of Homeland Security shall take all

appropriate steps to resume, modify, or terminate projects and to otherwise implement the plan.” Id.

         The DoD and DHS Border Wall Plans
21.      In June 2021, DoD and DHS announced their border wall funding plans. See Memorandum

for Director, Office of Management and Budget re: DoD Plan for the Redirection of Border Wall

Funds (June 10, 2021) (attached as Exhibit 1); DHS Border Wall Plan Pursuant to Presidential

Proclamation 10142 (June 9, 2021) (attached as Exhibit 2) [hereinafter “DHS Plan”]. DoD cancelled

all border wall projects undertaken with DoD funds pursuant to 10 U.S.C. § 284 and 10 U.S.C. § 2808.

The DHS Plan addresses two different sources of congressionally-appropriated border infrastructure

funds:    (1) funds Congress appropriated in fiscal years 2017–2020; and (2) funds Congress

appropriated in fiscal year 2021.

                DHS Fiscal Year 2017–2020 Funds

22.      The DHS Plan states that DHS “may prioritize” using its fiscal year 2017–2020 border

infrastructure appropriations on projects that “are needed to address life, safety, environmental, or

other remediation requirements.” DHS Plan at 2. DHS also “will explore” using these funds “to

address construction previously funded by the Treasury Forfeiture Fund.” Id. For all other border


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infrastructure projects funded by appropriations in fiscal years 2017–2020, “prior to further

construction, DHS will undertake a thorough review and replanning process.” Id. Specifically, DHS

“intends to engage in standard environmental planning including taking actions consistent with the

National Environmental Policy Act (NEPA) and other environmental planning and statutes.” 2 This

“multistep environmental planning process” will include “public scoping and comment on potential

environmental impacts through the NEPA process[;]” consultation with “affected landowners, tribes,

border community residents, their elected representatives, and interested non-governmental

organizations and advocates;” and an assessment of ways to “remediate or mitigate environmental

damage caused by past border wall construction.” Id. at 2–3.

                  DHS Fiscal Year 2021 Funds

23.     DHS intends to use its fiscal year 2021 border barrier appropriations to cover significant costs

associated with DoD's cancellation of its border wall projects. The DoD projects were in various

states of completion at the time of their cancellation and DHS intends to fund various close-out and

remediation activities at the former DoD projects sites that are turned over to DHS, including erosion

control measures, water drainage features, and road construction. See id. at 4. DHS also intends to

use its fiscal year 2021 appropriation to plan future border infrastructure projects and to cover

contingency costs associated with other projects, such as cost overruns and contract suspension costs.

See id. at 3–5.

        DHS’s Current Use of Fiscal Year 2020 and 2021 Funds
24.     CBP has been actively working to obligate and utilize its fiscal year 2020 and 2021 border

infrastructure appropriations in a manner consistent with its congressional appropriations and the

DHS Plan. See Declaration of Paul Enriquez, Real Estate and Environmental Director for the Border

Wall Program Management Office, ¶¶ 11–38 (attached as Exhibit 3).

        2
         The DHS Plan notes an exception to such planning for discrete projects involving “urgent
measures needed to avert immediate physical dangers” or “projects necessary to address life, safety,
environmental, or other remediation requirements.” DHS Plan at 2. In these circumstances, DHS
may rely on environmental waivers issued under § 102(c) of IIRIRA by the Secretary of Homeland
Security. See id.
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               Fiscal Year 2020 Funds

25.     As of March 2021, CBP had obligated $1.32 billion of the $1.375 billion appropriated in fiscal

year 2020 for barrier infrastructure construction. Id. ¶ 14. The obligations were incurred for, among

other things, contracts for the design and construction of border barrier system in the U.S. Border

Patrol Laredo Sector, costs associated with prior consultation and environmental surveys and

monitoring, and project oversight and engineering support services. Id.

26.     DHS utilized its fiscal year 2020 appropriations to fund four contracts that would provide for

the design and construction of approximately 70 miles border barrier system in the Laredo Sector. Id.

¶¶ 15–17. CBP directly awarded two of the contracts and the U.S. Army Corps of Engineers, acting

pursuant to an Economy Act agreement with CBP, awarded the other two contracts. 3 Id. ¶¶ 16–17.
Approximately $1.3 billion of the fiscal year 2020 barrier system appropriation was obligated through

the award of these four contracts. Id. ¶ 18.

27.     The Laredo projects would involve new barrier construction on land that is currently owned

by individuals and entities other than the federal government. Id. ¶ 21. Consequently, CBP must

work through a process to acquire the necessary real estate interests in that land before construction

can begin. Id. At the time the President issued his Proclamation, construction had not begun on any

of the Laredo projects and CBP had not acquired any of the permanent interests in real property

necessary to support construction. Id. Rather, CBP was in the process of acquiring temporary rights

of entry to allow for the performance of real estate surveys and appraisals. Id. The start of actual

construction was subject to the acquisition of the necessary permanent real estate interests. Id.

28.     CBP is now focused on conducting a thorough review and replanning process for the Laredo

projects, as set forth in the DHS Plan. This process will include standard environmental planning,




        3The Economy Act, 31 U.S.C. §§ 1535–36, provides authority for federal agencies to order
goods and services from other federal agencies and to pay the actual costs of those goods and
services using the purchasing agency’s appropriated funds.



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including taking actions consistent with NEPA; 4 additional biological, cultural, and natural resource

surveys for project areas where no data have been previously collected; and consultation with

interested stakeholders in the project areas. Id. ¶ 22. CBP anticipates that, depending on the level of

NEPA analysis that is required, environmental planning and stakeholder engagement will take

approximately 12–16 months to complete. Id. CBP will use contracts awarded with fiscal year 2020

barrier system appropriation funds for environmental planning and stakeholder engagement and

expects that planning and stakeholder engagement will begin in the first quarter of 2022. Id. ¶ 23

29.     CBP acquired some temporary rights-of-entry for projects in Laredo prior to January 20, 2021,
and will continue to acquire additional rights-of-entry where needed to access property to perform its

planning actions. Id. ¶¶ 22–23. All real estate acquisition costs associated with the Laredo projects

have and will continue to be funded from the fiscal year 2020 barrier system appropriation. Id. ¶¶ 21.

30.     Because of the time required to complete environmental planning for the Laredo projects, and

to ensure that the government does not incur substantial additional delay and other costs while such

planning is carried out, CBP and the Army Corps of Engineers have recently taken steps to modify

and terminate the contracts. Id. ¶¶ 24–27. On September 22, 2021, CBP modified the two contracts

it awarded to remove the construction portion of the contracts. Id. ¶ 26. CBP estimates that final

modifications to resolve final contract costs will be executed before December 31, 2021. Id. On

October 8, 2021, the Army Corps of Engineers sent termination for convenience notices to the

contractors on the two contracts it awarded and is administering. Id. 5 The parties are currently in the

process of negotiating final contract costs and closeout. Id. The contractors will be providing CBP

and the Army Corps of Engineers with partially complete design packages for the Laredo projects.


        4
          NEPA generally requires that federal agencies examine the potential environmental effects
of certain types of proposed federal actions and inform the public of those evaluations. 42 U.S.C.
§ 4321 et seq.
        5
         A “termination for convenience” clause is common in federal government contracts and
permits “the Government to terminate a contract, even in the absence of fault or breach by the
other party, without incurring the usual financial consequences of breach.” Stock Equip. Co., a Unit of
Gen. Signal Corp. v. Tennessee Valley Auth., 906 F.2d 583, 586 n.3 (11th Cir. 1990).

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See id. ¶¶ 26–27. All costs associated with those design packages have been and will be funded by the

fiscal year 2020 barrier system appropriation. See id. ¶¶ 26–27.

31.     As of December 6, 2021, CBP has obligated approximately $618 million of the fiscal year 2020

barrier system appropriation. Id. ¶ 28. Funds previously obligated on the four contracts that are in

excess of the amount of money needed to resolve final settlement and modification costs will be

deobligated and be available for reobligation consistent with the terms of           fiscal year 2020

appropriation. Id. CBP intends to use its available fiscal year 2020 funds to conduct environmental

planning, undertake robust consultation with stakeholders, and if additional permanent land

acquisition is necessary to complete projects contemplated by the DHS Plan, CBP will initiate robust

landowner engagement prior to acquisition. Id. ¶ 29.

                Fiscal Year 2021 Funds

32.     As of December 6, 2021, CBP has obligated $5.4 million of the fiscal year 2021 barrier system

appropriation. Id. ¶ 32. These obligations cover various programmatic expenses, including contract

costs for stakeholder engagement and environmental support services. Id.

33.     In accordance with the DHS Plan, CBP intends to use fiscal year 2021 funds for environmental

planning and stakeholder outreach for its next highest priority barrier segments, which are located in

the El Centro Sector in California. Id. ¶ 34. CBP has awarded a contract using fiscal year 2021 barrier

system appropriation funds to begin the process of environmental planning and outreach. Id. CBP

anticipates work on this contract will begin in the first quarter of 2022. Id.

34.     Additionally, CBP is planning to use its fiscal year 2021 funds for remediation and closeout of

the former DoD border barrier project sites. Id. ¶ 35. As part of the process of closing out those

projects, DoD authorized its contractors to perform a limited set of demobilization and safety

activities at the former DoD project sites, and that work has been occurring over the last several

months. Id. These activities include, among other things, filling exposed trenches, cutting exposed

rebar, and removing materials from the project sites. Id. CBP anticipates that starting its remediation

work at the DoD project sites will likely have to await demobilization of the DoD-funded contractors,


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as it may not be operationally or logistically feasible in some instances to have two different sets of

contractors working at the projects sites at the same time. Id. ¶ 36.

35.     When it becomes feasible for CBP to begin its own remediation work at the former DoD

project sites, CBP intends to obligate its fiscal year 2021 funds on contracts in support of projects that

prioritize funding for those remediation projects that are needed to address life and safety, including

the protection of individuals, Border Patrol agents, and nearby communities from potential harms,

and avert further environmental damage or degradation. Id. ¶ 37. Remediation activities or projects

falling within these categories are likely to include, among other things, erosion control measures,

water drainage work, and completion of safety work along border roads. Id. CBP estimates that the

priority remediation and closeout actions at the former 10 U.S.C. § 284 project sites will cost

approximately $500–$700 million and $300–$350 million at former 10 U.S.C. § 2808 project sites. Id.
36.     The timeline for CBP to obligate its fiscal year 2021 funds for these remediation activities will

be driven by several factors. Id. ¶ 38. First, the DoD contractors will need to complete their safety

work and demobilize from the project areas. Id.. That process is expected to be completed in the

majority of project areas by the second quarter of 2022. Id. Second, CBP will need to complete its

own study and assessment of the project areas after the DoD contractors depart to determine what

additional priority remediation activities need to be completed. Id. That process is a necessary

prerequisite to contact award and obligation of funds that will inform both the scope of the work and

the estimated costs. Id.

        Different Parts of the Texas State Government File Separate Lawsuits Against the
        Federal Defendants
37.     On July 13, 2021, the General Land Office of the State of Texas and its Commissioner

(collectively “GLO”) sued President Biden, Secretary of Homeland Security Mayorkas, and the

Department of Homeland Security over DHS’s use of funds appropriated for the southern border

wall. See Gen. Land Off. v. Biden, No. 7:21-cv-00272 (S.D. Tex.), Compl., ECF No. 1. The central

allegation in the GLO Complaint is that the President and DHS have unlawfully stopped construction

and land acquisition work for a border wall project in the Rio Grande Valley. Id. ¶¶ 8, 12, 76, 82. In

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doing so, GLO contends that Defendants are “unilaterally withholding funding appropriated by

Congress” for border wall construction. Id. ¶¶ 8, 51–52, 110–111. GLO asserts statutory and

constructional claims, including alleged violations of the APA various federal statutes regulating

agency appropriations and expenditures, the separation of powers and the Take Care Clause. See id.

¶¶ 70–135. Defendants’ moved to dismiss the complaint on October 18, 2021. See Texas GLO, ECF

No. 18.

38.       On October 21, 2021, the States of Missouri and Texas filed a similar suit against President

Biden; the United States of America; Secretary Mayorkas; DHS; Troy A. Miller, the Acting

Commissioner of CBP; and CBP. The six-count complaint likewise focuses on the allegation that

DHS has refused to spend its appropriated funds for the construction of a wall along the southern

border. The complaint raises claims under the federal Constitution, the Impoundment Control Act,

appropriations statutes, and the APA. Missouri, Compl., ECF No. 1. Many of the claims are identical

to ones raised by GLO in its complaint.
39.       On November 8, 2021, over nine months after the President issued his border wall

Proclamation, Texas and Missouri moved for preliminary injunction to enjoin Defendants “on a

nationwide basis, from enforcing and implementing the January 20 Proclamation.” Id., ECF No. 19,

Proposed Order. The motion also seeks a court order compelling Defendants to “obligate and spend

the funds appropriated for ‘construction of barrier system along the southwest border”’ and “to

rescind the[] cancellation of contracts executed” for border wall construction. Id.

                                      STANDARD OF REVIEW

40.       “A preliminary injunction is an ‘extraordinary remedy.”’ Google, Inc. v. Hood, 822 F.3d 212, 220

(5th Cir. 2016). A could should grant that remedy only when the moving party “clearly shows: ‘(1) a

substantial likelihood that he will prevail on the merits, (2) a substantial threat that he will suffer

irreparable injury if the injunction is not granted, (3) his threatened injury outweighs the threatened

harm to the party whom he seeks to enjoin, and (4) granting the preliminary injunction will not

disserve the public interest.”’ Id. (quoting Lake Charles Diesel, Inc. v. Gen. Motors Corp., 328 F.3d 192,


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195-96 (5th Cir. 2003)). The final two factors merge when a preliminary injunction is sought against

the federal government. Nken v. Holder, 556 U.S. 418, 435 (2009). The plaintiff must “clearly carr[y]

the burden of persuasion on all four requirements.” Bluefield Water Ass’n v. City of Starkville, 577 F.3d

250, 253 (5th Cir. 2009).

                                            ARGUMENT

        The States Have Failed to Show a Substantial Likelihood of Success on the Merits.
41.     Defendants, and not the States, are likely to prevail in this case for a number of reasons. First,

the States have no standing to challenge the decisions at issue here; their purported harms, even if

taken at face value, are not imminent, not traceable to Defendants’ actions, and not capable of redress

by this Court. Second, the suit is subject to dismissal because the rule against claim splitting bars

Texas’s claims and, as a consequence, this Court is not an appropriate forum for Missouri’s suit. Third,

the Court lacks jurisdiction over the States’ APA claims because the challenged agency decisions are

committed to agency discretion as a matter of law and are lacking in finality. Finally, the States’ claims

fail on the merits. Defendants’ plan of action regarding border barrier construction is not arbitrary

and capricious, and does not violate any statute or provision of the Constitution. Because the States’

claims are meritless as a matter of law, their request for a preliminary injunction should be denied.

                 The States Lack Article III Standing to Challenge DHS’s Border Barrier
                 Spending Policies.
42.     To establish standing, “a plaintiff must show (i) that he suffered an injury in fact that is
concrete, particularized, and actual or imminent; (ii) that the injury was likely caused by the defendant;

and (iii) that the injury would likely be redressed by judicial relief.” TransUnion LLC v. Ramirez, 141 S.

Ct. 2190, 2203 (2021). The burden rests on the States to demonstrate the existence of standing.

Clapper v. Amnesty Int’l USA, 568 U.S. 398, 408 (2013). They have failed to so here.

43.     The States primarily rely upon what they refer to as the “driver’s license rationale” of standing.

PI Mot. 37. The leading case on this rationale is Texas v. United States, 809 F.3d 134 (5th Cir. 2015)

(Texas I), where a coalition of states challenged the Deferred Action for Parents and Lawful Permanent

Residents Program (“DAPA”). The court in Texas I found that, at a minimum, Texas had Article III

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standing because DAPA would enable 500,000 unlawful migrants resident in Texas to obtain a driver

license, resulting in a loss of several millions of dollars in revenue. Texas I, 809 F.3d at 155–62. More

recently, in Texas v. Biden, 10 F.4th 538 (5th Cir. 2021) (Texas II), the Fifth Circuit, applying Texas I,

held that the States had standing to challenge the government’s rescission of the Migrant Protection

Protocols (“MPP”), which authorized the federal government to return certain third-country nationals

to Canada or Mexico during removal proceedings. 10 F.4th at 545–49. The court concluded that

because the rescission of MPP forced DHS to parole and release migrants into the United States, and

thereby contributed to the so-called “surge” of migrants at the southern border, the States had
standing to challenge the policy to prevent increased costs in providing social services like driver

licenses, education, and health care. Id. The States rely on that same rationale here, asserting that

Defendants’ “refusal to spend congressional appropriations mandating the construction of the

southwest border wall and the termination of contracts regarding the same will lead to additional illegal

aliens being present in Missouri and Texas” and impose burdens on their state fiscs. PI Mot. 36–42.

44.     But even if the validity of the “driver’s license rationale” is assumed correct (and Defendants

do not concede that is so, even if the Fifth Circuit’s rulings bind the Court here), the States still must

show, in a non-speculative way, that they face an imminent harm to their fiscs based on migration that

is traceable to the actions they challenge and that this Court could redress. They cannot make that

showing here. Even assuming that the States have correctly described DHS’s actions (they have not),

the States simply speculate (1) that declines in apprehensions were actually caused by, and do not

simply correlate with, barrier construction or the intent to engage in it (a possibility previous DHS

press releases touting the effectiveness of the border wall did not purport to consider); (2) that declines

in apprehensions at particular sections of the border where wall segments were built translate into a

net decline in the total level of migration to the United States, rather than migrants being channeled

to other areas of the border or obtaining admission by other means (such as claiming asylum at a port

of entry); and (3) that even assuming (1) and (2) are true, future border wall projects would necessarily

have the same impact as previous projects. There is no evidence in the record to support any of these

claims. Indeed, the States’ rhetoric undercuts them. Even though Defendants have not taken down

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any of the border barriers built prior to 2021, there has still been, in the States view, “an explosion of

illegal immigration, resulting in total encounters on pace to be the highest ever recorded.” PI Mot. 1.

Prior construction efforts did not prevent this “explosion” from happening, and there is no basis for

the Court to conclude that a burden on the States’ budgets is “certainly impending” simply because

construction of new projects has been paused while DHS completes environmental planning. Clapper,

568 U.S. at 410 (quoting Whitmore v. Arkansas, 495 U.S. 149, 158 (1990)). There is also no evidence to

suggest that any supposed harms to the States’ fisc caused by an influx of migration are either traceable

to the Proclamation and the DHS Plan, id. at 410–11, or could be remedied by this Court. The States’
declarations merely give information about the costs various social services agencies have incurred

associated with providing immigration-related services, see App. at 70–72, 129–133, but fail to link

how those costs are caused by DHS’s spending decisions about border barrier planning. See El Paso

Cty., Texas v. Trump, 982 F.3d 332, 344 (5th Cir. 2020) (holding that plaintiff lacked standing to

challenge border wall construction where declaration did not link alleged harm to a specific

construction project).

45.     In past cases, the States have successfully argued that it is non-speculative that migrants who

enter the United States “will come to the States and seek a driver’s license, medical care, or public

education.” PI Mot. 36–37. Those arguments succeeded in contexts where there was certainty (as

there was in both the MPP and DAPA cases) that more migrants would be staying in the United States

under the challenged policy than would otherwise be the case. See also Texas v. United States, 524 F.

Supp. 3d 598, 618–20 (S.D. Tex. 2021) (standing to challenge 100-day moratorium on deportations

based on driver license rationale); Texas v. United States, 328 F. Supp. 3d 662, 700–05 (S.D. Tex. 2018)

(standing to challenge DACA based on driver license rationale). But here, the speculation is not only

about whether migrants will avail themselves of public services, but about whether it is more likely

migrants will decide to illegally enter the United States due to Defendants’ border wall spending

policies. Claims that immigration policy “slightly increases [the] risk of injury—or insufficiently

decreases the risk compared to what some citizens might prefer” would inevitably “drain the ‘actual

or imminent’ requirement of meaning” and eviscerate Article III’s limitations. E.T. v. Paxton, --- F.4th

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----, 2021 WL 5629045, at *3 (5th Cir. Dec. 1, 2021) (concluding plaintiffs were unlikely to have Article

III standing to challenge Texas’s ban on local mask mandates) (quoting Shrimpers & Fishermen of RGV

v. Tex. Comm’n on Env’t Quality, 968 F.3d 419, 424 (5th Cir. 2020)).

46.     The States have also failed to meet the even heavier burden they must satisfy to challenge

these policies because their standing allegations are based on assumptions of how third parties in

foreign countries contemplating migration to the United States will respond to those policies.

“[W]here a causal relation between injury and challenged action depends upon the decision of an

independent third party,” standing is “ordinarily substantially more difficult to establish.” California v.
Texas, 141 S. Ct. 2104, 2117 (2021); see Clapper, 568 U.S. at 414 (expressing “reluctance to endorse

standing theories that rest on speculation about the decisions of independent actors”). That is because

“causation and redressability ordinarily hinge on the response of the regulated (or regulable) third

party to the government action or inaction—and perhaps on the response of others as well.” Lujan v.

Defs. of Wildlife, 504 U.S. 555, 562 (1992). The burden is even heavier when the alleged behavior is

unlawful. See City of L.A. v. Lyons, 461 U.S. 95, 105 (1983). And far from attempting to meet that

burden, the States have adduced no evidence at all suggesting a link between recent increased levels

of migration and an alleged failure to spend border barrier appropriations in a particular way. Theories

that particular government policies “entice” individuals to cross the border in greater numbers have

been squarely rejected by other courts. Arpaio v. Obama, 797 F.3d 11, 19–24 (D.C. Cir. 2015) (rejecting

standing on theory that third parties from other countries will be induced to enter the country by

promises of benefits under DACA and DAPA, even though the policies do not apply to them).

47.     The States’ standing to sue is even more tenuous when the particular appropriations they are

challenging are parsed. For fiscal year 2020 funds, although contracts for construction had been

awarded by CBP, no construction had taken place for the Laredo projects when DHS announced its

intent to engage in further environmental planning. Enriquez Decl. ¶¶ 14–20. CBP was still in the

process of conducting land surveys and appraisals for the Laredo projects slated to be built using fiscal

year 2020 money. Id. ¶. 21. Actual construction start was subject to the acquisition of the necessary

permanent real estate interests. Id. Similarly, for the fiscal year 2021 funds, no construction activities

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had begun in the El Centro Sector in light of the need to conduct environmental planning and

stakeholder outreach, which is scheduled to begin in the first quarter of 2022. Id. ¶ 34. Further, both

of these appropriations have five-year availability periods, so DHS has until September 30, 2024 to

obligate its fiscal year 2020 funds, and September 30, 2025 to obligate its fiscal year 2021 funds. DHS

Appropriations Act, 2020, 133 Stat. 2506; DHS Appropriations Act, 2021, 134 Stat. 1452. For both

appropriations, the States point to no evidence to suggest that these yet-to-be-started construction

projects would have made any impact in reducing the States’ social services costs.

48.     In addition to the types of harms the Fifth Circuit has found sufficient to ground standing in
Texas I and Texas II, Texas asserts two other forms of injury. First, Texas asserts that the Texas

Legislature has appropriated for border security personnel, equipment, jail space, and a border wall,

and that it has standing because Defendants’ policies forced Texas to take “mitigation measures” to

prevent unlawful migration. PI Mot. 42–43. But the Fifth Circuit has repeatedly held that plaintiffs

cannot spend their way into Article III standing, even when their fears of harm are sincere. Zimmerman

v. City of Austin, 881 F.3d 378, 389 (5th Cir. 2018) (“standing cannot be conferred by a self-inflicted

injury”); Assoc. for Retarded Citizens of Dallas v. Dallas Cnty. Mental Health & Mental Retardation Ctr. Bd. of

Trustees, 19 F.3d 241, 244 (5th Cir. 1994) (rejecting standing theory that would imply “any sincere

plaintiff could bootstrap standing by expending its resources in response to actions of another”).

Unlike the other costs complained of by the States, the statute that appropriated these funds was not

signed into law until September 17, 2021, well after the Proclamation and the DHS Plan had issued.

Texas            Legislature             Online,             Actions            on           HB              9,

https://capitol.texas.gov/BillLookup/Actions.aspx?LegSess=872&Bill=HB9 (last visited December

8, 2021). That fact distinguishes these alleged forms of injury from the other types of fiscal harm the

States have relied upon in previous matters. See Texas I, 809 F.3d at 159 (rejecting argument that States

had caused their own injury by subsidizing driver licenses because the law was enacted “one year

before DACA and three years before DAPA was announced, and there is no hint that the state

anticipated a change in immigration policy” (footnote omitted)). Standing is not available to redress

Texas’s alleged need to undertake these so-called “remedial measures.”

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49.     Second, Texas also asserts standing based on the alleged loss of tax revenue from the

cancellation of border wall contracts within the state. See PI Mot. 41–42. Texas, however, has not

presented any evidence to support this claim and simply speculates that it will lose money if contracts

are cancelled. Id. In any event, “[l]ost tax revenue is generally not cognizable as an injury-in-fact for

purposes of standing.” Arias v. DynCorp, 752 F.3d 1011, 1015 (D.C. Cir. 2014) (citing Pennsylvania ex

rel. Shapp v. Kleppe, 533 F.2d 668, 672 (D.C. Cir. 1976)). That is because “virtually all federal policies”

will have “unavoidable economic repercussions” on state tax revenues, and accordingly, complaints

about such losses typically amount to “the sort of generalized grievance about the conduct of

government, so distantly related to the wrong for which relief is sought, as not to be cognizable for

purposes of standing.” Kleppe, 533 F.2d at 672; see Iowa ex rel. Miller v. Block, 771 F.2d 347, 353 (8th Cir.

1985) (holding that there was an insufficiently direct link between reduced tax revenue and federal

disaster relief decisions to support standing); Arias, 752 F.3d at 1015 (holding that loss of tax revenue

from anti-drug herbicide-spraying operation resulting in damage to local crops was insufficient to

establish standing).
50.     In Wyoming v. Oklahoma, the Supreme Court recognized standing to challenge “a direct injury

in the form of a loss of specific tax revenues,” but distinguished cases where “actions taken by United

States Government agencies [have injured their] econom[ies] and thereby caused a decline in general

tax revenues.” 502 U.S. 437, 448 (1992) (discussing Kleppe and Miller). In reaching that conclusion,

the Supreme Court emphasized that states must establish a direct link between the tax at issue and the

administrative action being challenged to meet the requirements for Article III standing. The Supreme

Court found such a direct link between an Oklahoma law targeting coal usage and a specific stream

of tax revenue based on coal extraction. Id. at 447, 451. Here, however, Texas cannot satisfy this

direct link because it relies on a general business franchise tax that taxes every taxable entity doing

business in the state, not a specific tax on border barrier construction contractors. See PI Mot. 41.

Because the challenged action in this case is not “directly linked” to Texas’s fisc, Wyoming, 502 U.S. at

450, any indirect reduction in general tax revenues Texas may have obtained from third party

contractors is insufficient to support standing.

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51.     Finally, the States’ standing is not salvaged by assertions that they are entitled to “special

solicitude” as described in Massachusetts v. EPA, 549 U.S. 497 (2007). Massachusetts did not relieve

states of their obligation to establish a cognizable injury in fact. See Gov’t of Manitoba v. Bernhardt, 923

F.3d 173, 182 (D.C. Cir. 2019) (noting that, in Massachusetts v. EPA, the State was “entitled to ‘special

solicitude’ because” it had “a quasi-sovereign interest in ‘preserv[ing] its sovereign territory,’” but it

still demonstrated “its own harm to establish an injury-in-fact.”). Even in Texas I, the Fifth Circuit

found that Texas had shown that “DAPA would have a major effect on the states’ fiscs.” 809 F.3d at

152. Nor does Massachusetts relieve the States of showing the other elements of standing. Here, the

States have not shown an imminent injury-in-fact traceable to Defendants’ change in policy that could

be redressed by the Court, and so whatever “special solicitude” the States are entitled to is of no

moment. And because the Court is likely to dispose of this case on standing grounds, the States are

unlikely to succeed on the merits.
                Texas Has Engaged in Improper Claim-Splitting, and as a Result, this
                Lawsuit Is Likely to Be Dismissed.
52.     In the Land Office case, an executive agency of the state of Texas is already suing President

Biden and DHS over the very same change in policy articulated by the Proclamation and the DHS

Plan that is at issue in this lawsuit, brought by the Attorney General of Texas in the name of “the state

of Texas.” By breaking up its claims between different agencies within its executive branch, Texas

has transgressed the common law rule against claim splitting, which prevents “a party from

prosecuting its case piecemeal” by “requir[ing] that all claims arising out of a single wrong be presented

in one action.” Ameritox, Ltd. v. Aegis Sciences Corp., No. 3:08-CV-1168, 2009 WL 305874, at *4 (N.D.

Tex. Feb. 9, 2009) (quoting Sensormatic Sec. Corp. v. Sensormatic Elecs. Corp., 273 Fed. Appx. 256, 265 (4th

Cir. 2008) (citations and internal quotations omitted). The doctrine “protect[s] the defendant from

being harassed by repetitive actions based on the same claim.” In re Super Van, Inc., 92 F.3d 366, 371

(5th Cir. 1996). Texas’s claims are likely to be dismissed on this basis. And since Missouri has no

right under the venue statute to force the federal government to defend a lawsuit in this Court if Texas

is not a plaintiff, the Court is likely to dismiss the entire case if it finds Texas’s claims should be


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dismissed for claim splitting.

53.      The claim-splitting rule arises from the common sense principle that “plaintiffs have no right

to maintain two actions on the same subject in the same court, against the same defendant at the same

time.” Curtis v. Citibank, N.A., 226 F.3d 133, 138–39 (2d Cir. 2000). Like the doctrine of res judicata

(which, unlike claim splitting, requires a final judgment on the merits), courts in the Fifth Circuit

consider whether the first and second claims “[(1)] involve[] the same parties and [(2)] arise[] out of

the same transaction or series of transactions.” Ameritox, 2009 WL 305874, at *4. Two claims arise

from the “same transaction” if they are “based on the same nucleus of operative fact.” F.D.I.C. v.

Nelson, 19 F.3d 15, 1994 WL 93409, at *2 n.5 (5th Cir. Mar. 15, 1994) (table) (quoting Eubanks v.

F.D.I.C., 977 F.2d 166, 171 (5th Cir. 1992)). The test is satisfied here.
54.     First, the cases involve the same parties. On the defendants’ side, the parties are “functionally

identical.” Order re. Consolidation, ECF No. 32, at 6. Both cases seek relief against the President,

the Department of Homeland Security, and Secretary Mayorkas. Other defendants named by

Plaintiffs here are either superfluous (like “the United States”) or are components of DHS (like CBP

and Director Miller). And on the plaintiffs’ side, the Fifth Circuit has held the General Land Office

is an “arm[] of the state” of Texas because it is “included in the state budget and is substantially funded

by the state treasury’s general revenue, lacks local autonomy, has statewide regulatory power, and is

subject to oversight by state officials.” U.S. Oil Recovery Site Potentially Responsible Parties Grp. v. R.R.

Comm’n of Texas, 898 F.3d 497, 502 (5th Cir. 2018) (concluding the Land Office, alongside other state

agencies, enjoyed state sovereign immunity from suit); see also John G. & Maria Stella Kenedy Memorial

Found. v. Mauro, 21 F.3d 667, 672 (5th Cir. 1994) (“the relief the [plaintiff] requests, although nominally

against [the Commissioner of the Land Office], is retroactive relief against the State”); cf. Sunshine

Anthracite Coal Co. v. Adkins, 310 U.S. 381, 402–04 (1940) (holding, with respect to federal government

officials, that “[t]here is privity between officers of the same government” for purposes of applying

res judicata). Even if the Land Office and Attorney General are “distinct” in their roles and capacities,

Order Re. Consolidation at 6, it remains the case that Texas has effectively sued Defendants twice.

55.     Second, the cases arise out of the same transaction or occurrence. The gravamen of both this

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complaint and the Land Office complaint is that the Proclamation, the DHS Plan, and actions taken by

DHS and CBP pursuant thereto violated federal appropriations statutes, including the APA, and the

federal Constitution. To be sure, the two cases are not identical in how they frame the alleged

violations of federal law, although they contain many overlapping claims (including APA claims,

constitutional claims, and violations of appropriations statutes). The complaints also zero in on

different kinds of alleged harm to Texas’s sovereign interests due to unlawful migration: the Land

Office has focused on harm to a piece of state-owned land near the border that it alleges has

experienced increased traffic from migrants due to already completed projects shunting migrants onto
the property, while Texas has emphasized the cost to the state of providing basic services to migrants

such as drivers’ licenses, health care, and education, as well as “mitigation measures” it is taking related

to immigration. No matter. As this Court already recognized, “[t]he fundamental questions in these

two cases are the same: whether the Defendants acted consistent with the Constitution in effecting a

change of policy with respect to the construction of the border wall[;] whether Plaintiffs have viable

equitable, statutory, or APA claims; and whether Defendants’ decisions complied with the relevant

appropriations laws.” Order re. Consolidation at 7. Under the “common nucleus of operative fact”

test, courts have the authority to apply the rule against claim splitting to dismiss complaints averring

any and “all grounds for, or defenses to, recovery that were previously available to the parties,
regardless of whether they were asserted or determined in the prior proceeding.” Brown v. Felsen, 442

U.S. 127, 131 (1970). “[T]he type of relief requested, substantive theories advanced, or types of rights

asserted” do not change the analysis. United States v. Davenport, 484 F.3d 321, 326 (5th Cir. 2007).

56.     In its opposition to Defendants’ motion to consolidate, Texas asserted that “the GLO and the

Land Commissioner are not the State of Texas and cannot bring suit on the State’s behalf,” citing a

variety of state law authorities to the effect that only the Attorney General can represent “the state of

Texas” in civil litigation. Opp. to Mot. to Consolidate, ECF No. 22, at 4–5. That is a non sequitur.

The critical point as far as claim splitting goes is that two entities exercising the sovereign authority of

the state of Texas are suing Defendants on claims arising from the same nucleus of operative facts.

Texas’s 1876 Constitution intentionally “decentralized the executive authority by vesting power in

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other executive officers, most of whom were to be elected,” including the Land Commissioner and

the Attorney General. A.J. Thomas, Jr. & Ann Van Wynen Thomas, The Texas Constitution of 1876, 35

Tex. L. Rev. 907, 914 (1957). But regardless of which office acts, and under what banner it sues, the

state of Texas is exercising sovereign power in an official capacity when its officers sue in federal

court. The Land Commissioner, no less than the Attorney General, represents the interests of the

entire state when he acts in his official capacity, not just the interests of his office. Federal law

regarding claim splitting and preclusion should not hinge on the peculiarities of how a particular state

organizes executive power or litigating authority. See Adkins, 310 U.S. at 402–03.
57.     Although Texas is likely wrong about the Land Office’s authority to bring suit on behalf of

the people of Texas, 6 Defendants have no stake in which department of Texas’s executive branch is

responsible for challenging policies regarding border barrier construction in federal court. This is not

the appropriate forum to resolve the apparent dispute between the Attorney General and the Land

Office about their litigation authority, a question of state law between two parties who are not adverse

to each other in either of the cases now pending before this Court. Through legislation, executive

action, or litigation in state court, Texas has the ability internally to determine who should represent


6
  Texas’s General Appropriations Act provides that “the Attorney General shall have the primary duty
of representing the State in the trial of civil cases,” and generally requires that state agencies receive
the Attorney General’s approval before hiring outside counsel for civil litigation. General
Appropriations          Act         2020–21         §       16.01(a),       (Sept.        30,       2019),
https://www.lbb.state.tx.us/Documents/GAA/General_Appropriations_Act_2020_2021.pdf. But
the Land Office is explicitly made exempt from this restriction on its funds. Id. § 16.01(i).
         The statutes Texas relies upon are consistent with this appropriation. Texas Gov’t Code
§ 402.021 states that “[t]he attorney general shall prosecute and defend all actions in which the state
is interested before the supreme court and courts of appeals,” but this statute says nothing about
actions in federal court or in trial courts. Tex. Gov’t Code § 402.0212 requires the Attorney General
to approve all contracts for legal services between outside attorneys and state executive departments,
but the Land Office is explicitly exempt from these rules because it is an “agency established by the
Texas Constitution.” Tex Gov’t Code § 402.0212(a); see also Tex. Const. Art. XIV, § 1 (establishing
the Land Office). These statutes post-date the state court cases Texas cited in its opposition to
consolidation. Those cases do not address the Land Office’s unique status as a constitutionally created
arm of the Texas executive branch that has the authority to hire counsel and bring civil litigation
independent of the Attorney General. See General Land Office v. U.S. Dep’t of Interior, 947 F.3d 309 (5th
Cir. 2020) (lawsuit filed by private attorney representing the General Land Office challenging the
denial of a petition to delist the Golden-Cheeked Warbler as an endangered species).
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the state in disputes over the border barrier to the extent there is disagreement between them as to

who had the right to sue the Defendants. But if the Land Office and the Attorney General both

maintain suit before this Court over border barrier construction, the rule against claim splitting must

be applied to dismiss the later-in-time claim.

58.     Dismissal of Texas from this case would have unavoidable consequences for Missouri, because

this Court is not a proper venue for Missouri alone. Missouri has a right under the venue statute to

sue officers or employees of the United States in the place where those officers reside in their official

capacity, the District of Columbia. See 28 U.S.C. § 1391(e)(1)(A). It can also sue those officers in the

federal courts within its borders. Id. § 1391(e)(1)(C). But it has no right to sue in federal court in

Texas unless Texas is joined as a proper plaintiff. The complaint alleges that venue is proper in this

Court because “a substantial part of the events or omissions giving rise to this complaint occurred and

continue to occur within the Southern District of Texas.”            Compl. ¶ 47; see also 28 U.S.C.

§ 1391(e)(1)(B). That would no longer be accurate if Texas’s claims were dismissed. Federal agencies

and government officers acting in their official capacity in Washington, DC are responsible for the

policies and actions Plaintiffs challenge here; those “events or omissions” are what “giv[e] rise to this

complaint” in this case. The alleged harms Missouri describes in the complaint take place within its

borders, when migrants enter the state and begin using social services that cost the state money, not

in Texas. Accordingly, the Court should dismiss the entire case because of Texas’s claim splitting. See

28 U.S.C. § 1406 (district court has discretion to dismiss a case that lies in an improper venue).

                The States’ Claims Under the APA Are Unreviewable.

                1.      The States’ Claims Are Committed to Agency Discretion

59.     Although the APA presumes that agency action can be judicially reviewed, “[t]his is ‘just’ a

presumption …. [U]nder § 701(a)(2) agency action is not subject to judicial review ‘to the extent that’

such action ‘is committed to agency discretion by law.”’ Lincoln v. Vigil, 508 U.S. 182, 190-91 (1993)

(citing Block v. Cmty. Nutrition Inst., 467 U.S. 340, 349 (1984)). Broadly speaking, courts have found

that Section 701(a)(2) precludes review where “a court would have no meaningful standard against


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which to judge the agency’s exercise of discretion,” Lincoln, 508 U.S. at 191 (quoting Heckler v. Chaney,

470 U.S. 821, 830 (1985)), including situations where the agency decision “involves a complicated

balancing of a number of factors which are peculiarly within its expertise.” Id. (quoting Heckler, 470

U.S. at 830). Such is the case here. The States assert that this case fits in none of the “limited

categories” in which judicial review is precluded under § 701(a)(2). PI Mot. 43–45. In fact, DHS’s

plan to expend its fiscal year 2020 and 2021 funds on additional environmental review and

consultation before resuming further construction is the type of quintessential policy decision

concerning the prioritization and allocation of resources that is committed to DHS’s discretion.
DHS’s decision to allocate its financial resources in this manner also bears the hallmarks of earlier

Supreme Court decisions finding similar decisions exempt from APA review, such as decisions not to

institute enforcement proceedings and the allocation of funds from a lump-sum appropriation. As

such, it falls outside the presumption against judicial review, and the States lack jurisdiction to

challenge these decisions under the APA.

60.     In Heckler, a leading Supreme Court decision on § 701(a)(2), the plaintiffs challenged the

FDA’s decision not to take enforcement actions against drugs used to carry out capital punishment

under the Federal Food, Drug and Cosmetic Act. 470 U.S. at 823. The Court held that this “refusal[]

to take enforcement action” was not subject to judicial review. Id. at 831. Prior to Heckler, the Court

had “recognized on several occasions over many years that an agency’s decision not to prosecute or

enforce, whether through civil or criminal process, is a decision generally committed to an agency’s

absolute discretion.” Id. Such choices “often involve[] a complicated balancing of a number of factors

which are peculiarly within its expertise,” and “[t]he agency is far better equipped than the courts to

deal with the many variables involved in the proper ordering of its priorities.” Id. at 831–32. The

Supreme Court pointed out that an agency decision that involves factors such as “whether agency

resources are best spent” on one or another aspect of the agency’s mission, whether an action “best

fits the agency’s overall policies,” and “whether the agency has enough resources to undertake the

action” indicate that the decision is of the type which is committed to agency discretion. Id. at 831.

61.     The Supreme Court extended the logic of Heckler to appropriations issues in Lincoln. The

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Department of Health and Human Services (“HHS”) received a yearly, lump sum appropriation for

the operating and capital expenses of the Indian Health Service. 7 508 U.S. at 185. For many years,

the Indian Health Service operated an Indian Children’s Program using money from this lump sum

appropriation that provided direct clinical services to Indian children in certain parts of the country.

Id. at 185–87. Congress never specifically appropriated funds to the Program, even though the

relevant appropriations committees in Congress were aware of the Program and the legislative history

of the appropriation was replete with references to the Program. Id. at 187. When HHS acted to end

the clinical services aspect of the Program, Indian tribes sued HHS, claiming that decision violated

the law. The Supreme Court concluded that the decision was committed to agency discretion as a

matter of law and not reviewable under the APA. Id. at 193 (discussing Heckler, 470 U.S. at 831-32).

At least one court of appeals has since extended the rationale of Lincoln to non-lump-sum

appropriations, as well, since funding decisions relating to a specific appropriation for a specific

program have the same decision-making dynamic as lump-sum appropriations. See Milk Train, Inc. v.

Veneman, 310 F.3d 747, 751–52 (D.C. Cir. 2002) (holding decision to limit distribution of funds

appropriated to “provide assistance directly to ... dairy producers, in a manner determined appropriate

by the Secretary” by production capacity was committed to agency discretion by law) (citation

omitted).
62.     As was the case in both Heckler and Lincoln, the sources of positive law the States rely upon

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         For example, the appropriation setting the Indian Health Service’s operational budget at
the time provided, in relevant part:

                      For expenses necessary to carry out the Act of August 5, 1954 (68 Stat. 674),
            the Indian Self-Determination Act, the Indian Health Care Improvement Act, and
            titles III and XXVI and section 208 of the Public Health Service Act with respect to
            the Indian Health Service, including hire of passenger motor vehicles and aircraft;
            purchase of medical equipment; purchase of reprints; purchase, renovation, and
            erection of modular buildings; payments for telephone service in private residences
            in the field, when authorized under regulations approved by the Secretary;
            $1,537,851,000,: . . . .

Pub. L. No. 102-381, 106 Stat. 1407.



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here do not provide guidance as to how to balance planning considerations, including environmental

review and consultation, with the initiation of new construction. Absent such guideposts, there are

no judicially manageable standards for a court to review the way DHS allocates its financial resources

to do more of the former until proceeding with the latter. Congress appropriated the funds at issue

here to CBP’s general account for “procurement, construction, and improvements,” see, e.g., DHS

Appropriations Act, 2020, Div. D, then earmarked 8 the funds as being “available only” for border

fencing projects, id. § 209. The statutes do not preclude or require other activities related to the

purpose of the appropriation like environmental planning, stakeholder consultation, or land

acquisition. Nor do they explain how much of those necessary activities DHS should engage in, or

how much time should be spent on them prior to obligating funds on construction contracts.
63.     Instead of continuing on its prior trajectory, DHS chose to pause current construction and

“undertake a thorough review and replanning process” with respect to border barriers, consistent with

current law. DHS Plan at 2. This decision “to adapt to changing circumstances and meet its statutory

responsibilities in what it sees as the most effective or desirable way” is classically the sort of decision

that cannot be reviewed under § 701(a)(2) of the APA. Lincoln, 508 U.S. at 192. The States insinuate

that Defendants have made these decisions because they do not intend to build a border wall at all,

but that sort of inquiry into an agency’s motivations for exercising its discretion in a particular way is

precisely what § 701(a)(2) was meant to preclude. See Gentile v. SEC, 974 F.3d 311, 319–20 (3d Cir.

2020) (holding decision to open a formal investigation was committed to agency discretion by law,

even as to plaintiff’s contention that it had an “allegedly retributive motive,” because § 701(a)(2)

“shields the entirety of an agency action that is committed to agency discretion by law”). DHS is “far

better equipped” than this Court or the States to assess the agency’s priorities and needs in choosing

among the many permissible uses of these appropriated funds. Lincoln, 508 U.S. at 193 (quoting

Heckler, 470 U.S. at 831-32). As such, the States are unlikely to succeed on their APA claims because

the decisions they challenge are committed to agency discretion by law.


        Earmarks are a “portion of a lump-sum amount for particular purposes.” General
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Accounting Office, A Glossary of Terms Used in the Federal Budget Process 46 (2005).
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                2.      The States Have Not Challenged Final Agency Action.

64.     The APA generally authorizes judicial review only of final agency action, as opposed to action

that is “preliminary, procedural, or intermediate.” 5 U.S.C. § 704. For agency action to be final, it

must meet two conditions: “First, the action must mark the ‘consummation’ of the agency’s

decisionmaking process[]—it must not be of a merely tentative or interlocutory nature. And second,

the action must be one by which ‘rights or obligations have been determined,’ or from which ‘legal

consequences will flow[.]” Bennett v. Spear, 520 U.S. 154, 177-78 (1997) (internal citations omitted).

65.     The States identify three potential final agency actions: (1) the Proclamation; (2) the DHS Plan;
(3) an October 8 press release issued by DHS noting CBP’s “intent” to cancel certain border

construction projects. PI Mot. 46. But while some of these actions meet one of the two requirements

for final agency action, none meets both. The temporary “pause” in construction mandated by the

Proclamation is no longer controlling, as the agencies have now made their plans to implement the

policy changes directed by the Proclamation. In any event, actions by the President are not subject to

APA review because “because the President is not an ‘agency’ within the meaning of the APA.” See

Dalton v. Specter, 511 U.S. 462, 469 (1994). The DHS Plan is not the “consummation” of DHS’s

decision-making process, but an interlocutory step on the road to subsequent final decisions. Final

agency action does not occur until DHS takes steps necessary to translate the DHS Plan into actions

with legal consequences. These “single step[s] or measure[s]” may be reviewable, but the “on-going

program or policy” described by the DHS Plan “is not, in itself, a ‘final agency action’ under the APA.”

Cobell v. Norton, 240 F.3d 1081, 1095 (D.C. Cir. 2001). Lastly, the October 8 press release merely states

CBP’s “intent” to cancel contracts. Such a statement of intent is necessarily interlocutory, nor do legal

consequences flow from it. Defendants are therefore likely to succeed on their defense that Plaintiffs

have failed to articulate a challenge to a proper final agency action.

                DHS’s Actions Are Not Arbitrary and Capricious.

66.     Under the APA, agency action should only be set aside if it is “arbitrary, capricious, an abuse

of discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(a)(2). Here, the States face an


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uphill battle, as “[t]he arbitrary and capricious standard is highly deferential.” Knapp v. U.S. Dep’t of

Agric., 796 F.3d 445, 453 (5th Cir. 2015). The Court is limited to considering “whether the decision

was based on a consideration of the relevant factors and whether there has been a clear error of

judgment.” Marsh v. Or. Nat. Res. Council, 490 U.S. 360, 378 (1989); see Bowman Transp., Inc. v. Ark.-Best

Freight Sys., Inc., 419 U.S. 281, 286 (1974) (court must “uphold a decision of less than ideal clarity if the

agency’s path may reasonably be discerned”).

67.     The Court need not reach the arbitrary and capricious question to decide this motion. The

States lack standing and have engaged in improper claim splitting. The decisions that the States

critique here, such as the amount of environmental review that should be undertaken before initiating

new construction projects, are classically the sorts of decisions that Congress commits to the discretion

of agencies as a matter of law. Moreover, because DHS’s reassessment of border barrier construction

is ongoing and the States have not identified a final agency action to challenge, the States’ APA claims

are premature. But should the Court choose to reach the States’ arbitrary and capricious claim,

Defendants’ decision to engage in thorough environmental review and stakeholder consultation

before engaging in any new construction easily clears the low hurdle of rationality review.
68.     Texas first argues that Defendants failed to take account of statements made by officials of

the prior administration that “walls work” to deter migrants and contraband from entering the United

States. PI Mot. 18–20. In press releases issued in 2018 and 2020, DHS claimed that prior border wall

projects significantly reduced apprehensions and seizures of narcotics in areas where they were built.

App.007–08, 010–12. The States argue that Defendants did not adequately address such assertions

by either adducing evidence that contradicted or undermined these previous statements about the

effectiveness of previously constructed barriers, or by addressing the prior statements and explaining

why it would proceed with the new policy anyway.

69.     At the outset, there is a mismatch between the evidence the States point to and the decisions

they have challenged here. The issue in this case is the initiation of new border barrier projects for

which construction has yet to begin. Meanwhile, the States assert that previous construction projects

reduced immigration activity in areas where the construction had taken place. But the sources cited

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do not claim that the barriers led to an overall decrease in migration levels; they do not engage in any

comparative analysis of how overall migration rates fluctuated in response to the completion of

segments of the barrier, taking into account broader migration patterns and other enforcement

policies; and they do not examine why these benefits would continue to accrue from further

construction. It does not ineluctably follow that new projects, which are separately surveyed,

approved and contracted, would achieve similar success or have a net impact on unlawful migration.

Indeed, the States’ alarmism about current levels of immigration, which exist despite the presence of

hundreds of miles of new border wall built during the previous administration, undermines the probity
of this evidence as a gauge of the effectiveness of future projects at curbing unlawful immigration.

70.     But even if the Court were to assume the States’ assessment of effectiveness is correct, DHS

would still be likely to prevail. DHS’s new policy does not logically require a denial or rebuttal of the

evidence touted by the prior administration showing that construction of barriers correlated with

lower apprehensions in segments of the border. Prior to the Proclamation, DHS had engaged in

environmental planning and stakeholder consultation activities intended to mitigate the impact of

construction of the border wall. See IIRIRA § 102(b)(1)(C). This planning was allowed to proceed in

an expedited fashion because DHS had issued waivers, pursuant to IIRIRA, of various federal statutes

governing federal construction projects, including NEPA. See IIRIRA § 102(c)(1). As part of the

“thorough review and replanning process” initiated by the DHS Plan, DHS will, going forward,

“engage in standard environmental planning including taking certain actions consistent with [NEPA]

and other environmental planning and statutes.” DHS Plan at 2, 5. That decision to comply with

standard environmental planning procedures articulated by Congress, even where statutes such as

NEPA has been waived, will “ensure that CBP has a complete understanding of the potential impacts

of those projects” before it begins construction. Enriquez Decl. ¶ 40. Implicit in that choice to

conform environmental planning to the standards of federal law is DHS’s “awareness that it is

changing position” with respect to the border wall and that “there are good reasons for the new

policy.” FCC v. Fox Television Stations, Inc., 556 U.S. 502, 515–16 (2009).

71.     Next, the States briefly argue that Defendants have “reverse[d] their own prior position on the

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importance of deterring illegal border crossings” and “utterly failed to explain why they seemingly no

longer think it is important to prevent aliens from attempting to illegally gain entry into the United

States.” PI Mot. 20–21. These claims are baseless. The very first sentence of the Proclamation

reaffirms that “the United States has a right and a duty to secure its borders and protect is people

against threats." 86 Fed. Reg. 7225. The States point to nothing that suggests Defendants no longer

think that enforcing immigration law is important.

72.     The States’ next argument is that Defendants failed to take into account their reliance interests

in the construction of new border wall projects. PI Mot. 21–22. Typically, “[w]hen an agency changes

course . . . it must ‘be cognizant that longstanding policies may have engendered serious reliance

interests that must be taken into account’” before it does so. Dep’t of Homeland Sec’y v. Regents of the

Univ. of Cal., 140 S. Ct. 1891, 1913 (2020) (quoting Encino Motorcars, LLC v. Navarro, 136 S. Ct. 2117,

2126 (2016)). But Regents does not apply here. In Regents, DHS was attempting to rescind the Deferred

Action for Childhood Arrivals (“DACA”) program that individuals relied upon in order to maintain a

legal immigration status in the United States. DHS is not trying to undo previous construction projects

in a way analogous to rescinding the DACA program. Rather, it is deferring new construction that

has yet to commence until it can engage in further review of the projects, including robust

environmental review. The States cannot claim reliance interests based on future construction

activities in the Laredo and El Centro sectors that have not even been fully planned, let alone started.

73.     Even if the Court concludes that Regents should apply to the decisions at issue here, it would

be more accurate to say that Defendants are in the process of complying with Regents, rather than

violating it. The States assert that Defendants have failed to properly consider “the costs that

termination of border wall construction” would impose on them, and consequently failed to actually

make a decision that other policy considerations outweighed the need to protect the States from the

impact of unlawful migration and press forward with new border wall construction. PI Mot. 21–22.

But those are not the only factors relevant to border wall construction, and the States do not claim

otherwise. The relevant factors also include the impact of construction on the environment and other

relevant stakeholders. Defendants have chosen to engage in further consideration of those factors

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before pressing on with additional construction. The futility of a court attempting to adjudicate how

much time, money, and consideration DHS should give to this or that factor before committing to a

construction project is precisely why Defendants’ decision is not reviewable. But even if the Court

reaches this question, there is nothing arbitrary and capricious about deciding to look at some relevant

factor more closely before making a final decision.

74.     Finally, the States assert that Defendants actions mean they “will never be able to comply with

Congress’s mandate in the 2020 and 2021 CAAs,” and argue that Defendants have acted in an arbitrary

and capricious manner by not considering compliance with these statutes, the ICA, and the

Constitution in crafting their policy. PI Mot. 22–23. At the same time, the States assert that

Defendants have “admitted” on multiple occasions that they have an obligation to spend appropriated

funds consistent with Congress’s purposes and other statutory and constitutional constraints. But

there is no contradiction in Defendants’ plans: as explained below, Defendants are complying with all

of the laws the States have cited here, and have repeatedly maintained their commitment to spending

all appropriated funds consistent with their purposes.         See Proclamation (directing agencies to

“provid[e] for the expenditure of any funds that the Congress expressly appropriated for wall

construction, consistent with their appropriated purpose”).
75.     In sum, no aspect of the States’ challenge to Defendants’ decision-making has any merit.

Accordingly, assuming the Court reaches the States’ arbitrary and capricious claims, it should conclude

that Plaintiffs have no likelihood of success on this claim.

                The States’ Statutory Claims Fail.

                1.       The States Do Not Fall Within the Zone of Interests Protected by
                         DHS’s Annual Border Infrastructure Appropriations and the
                         Impoundment Control Act.
76.     The States also cannot establish a likelihood of success on the merits of their statutory claims

that DHS has expended funds contrary to the provisions its fiscal year 2020 and 2021 appropriations

statutes or the Impoundment Control Act (“ICA”). See PI Mot. 23–29. The States’ claims fail at the

outset because their asserted financial interests in minimizing the costs of providing driver’s licenses


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and other state-funded services are not within the zone of interests protected by Congress’s

appropriations to DHS for border wall construction or Congress’s oversight of Executive Branch

funding impoundments.

77.     The States bring their statutory claims through a cause of action provided by the APA, see id.

at 24, but the APA’s express cause of action to obtain judicial review of whether a federal agency’s

actions are in excess of statutory authority is not available unless the States’ asserted interests at least

arguably “fall within the zone of interests protected by the law invoked.” Lexmark Int’l, Inc. v. Static

Control Components, Inc., 572 U.S. 118, 129-130 (2014) (citation omitted). The zone-of-interests

requirement originated in Association of Data Processing Serv. Orgs., Inc. v. Camp, 397 U.S. 150, 156 (1970),

and serves as a general presumption about Congress’s intended limits on the scope of causes of action.

See Lexmark Int’l, Inc.., 572 U.S. at 127-33. The zone-of-interests test “is a ‘requirement of general

application’” that “always applies and is never negated.” Id. at 129 (emphasis in original) (quoting

Bennett v. Spear, 520 U.S. 154, 163–64 (1997)); see Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians

v. Patchak, 567 U.S. 209, 224 (2012) (applying zone-of-interests test to alleged statutory violation);

Boston Stock Exch. v. State Tax Comm’n, 429 U.S. 318, 320–21 n.3 (1977) (applying the zone-of-interests

requirement to alleged constitutional violation).
78.     The zone-of-interests test requires courts to assess whether “the interest sought to be

protected by the complainant is arguably within the zone of interests to be protected or regulated by

the statute or constitutional guarantee in question.” Ass’n of Data Processing Serv. Organizations, Inc., 397

U.S. at 153. The test forecloses suit where the plaintiff’s “interests are so marginally related to or

inconsistent with the purposes implicit in the statute that it cannot reasonably be assumed that

Congress intended to permit” the plaintiff to bring suit under it. Patchak, 567 U.S. at 225 (quoting

Clarke v. Sec. Indus. Ass’n, 479 U.S. 388, 399 (1987)). When Congress authorizes a cause of action, it

presumptively does not intend the “absurd consequences” that would follow “[i]f any person injured

in the Article III sense” by an alleged violation of federal law could sue over the violation. Thompson

v. North Am. Stainless, LP, 562 U.S. 170, 176–177 (2011). The zone-of-interests requirement thus

limits the plaintiffs who may invoke a cause of action under the APA for an alleged violation of law

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to those whose asserted interests are arguably “protected or regulated by the statute that they say was

violated.” Texas I, 809 F.3d at 161; see Moses v. Banco Mortg. Co., 778 F.2d 267, 271 (5th Cir. 1985)

(“parties who receive only unintended or incidental benefits from statutes or regulations are outside

the zone of interests to be protected”).

79.     Here, the States fall outside the zone of interests of the DHS appropriations statutes they seek

to enforce. Texas and Missouri brought this lawsuit to protect various state government agencies

from having to expend state funds on public services for migrants, such as driver’s licenses, public

education, and healthcare. See PI Mot. 37–41. Texas also asserts an interest in increasing the general

tax revenue it would receive from levying a “franchise tax” on government contractors who perform

border wall construction activities. See id. at 41–42. Texas further seeks to protect public funds that

it has expended to build its own border wall. See id. at 42–43. But the States’ interest in raising more

general tax revenue or protecting the operating budgets of state agencies charged with providing social

services to migrants or public safety activities are not even “marginally related to . . . the purposes

implicit” in the appropriations statutes at issue in this case. Patchak, 567 U.S. at 225 (citation omitted).
80.     The DHS Appropriations Acts of fiscal year 2020 and 2021 appropriated $1.375 billion to

CBP “for the construction of barrier system along the southwest border.” DHS Appropriations Act,

2020, Pub L. No. 116-93, Div. D, § 209(a)(1), 133 Stat. at 2512; DHS Appropriations Act, 2021, Pub

L. No. 116-260, Div. F, § 210, 134 Stat. at 1456–57. These statutes regulate and protect the interests

of DHS and Congress in the federal spending and appropriations process. Nothing about the text or

context of these statutes suggests any connection whatsoever to the interests of a state government

who asserts that federal spending decisions indirectly harm the state’s tax base or the operating budgets

of its agencies. See Miccosukee Tribe of Indians of Fla. v. United States, No. 08-23523-CIV, 2009 WL

10668917, at *4 (S.D. Fla. Sept. 30, 2009) (dismissing claims brought under a statute appropriating

funds to a federal agency for a construction project on zone-of-interests grounds because the statute

protected the agency’s interest in receiving funds for the construction project, not an Indian tribe’s

interests in quiet enjoyment of land near the project). When Congress appropriated funds to DHS

for border wall construction, it did not require DHS to consider the potential impact on state agency

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budgets or tax revenue, nor did Congress limit DHS’s discretion to expend funds in order to protect

those interests. These provisions act as limitations on the Executive vis-a-vis Congress regarding

federal appropriations, and do not confer judicially cognizable rights on state governments to second-

guess federal spending decisions. See Glass Packaging Inst. v. Regan, 737 F.2d 1083, 1090 (D.C. Cir.

1984) (holding that a private party alleging “an injury to its competitive interests” was “not arguably

within the zone of interests” of a statute intended “to regulate only a specific narrow governmental

interest—protection of tax revenues”); Hazardous Waste Treatment Council v. Thomas, 885 F.2d 918, 925

(D.C. Cir. 1989) (suggesting that a defense contractor would fall outside the zone of interests of an

appropriations act because the “defense appropriation is not passed in order to benefit defense

contractors, benefit them though it may”); Cleveland Assets, LLC v. United States, 132 Fed. Cl. 264, 277

(2017) (concluding that plaintiffs alleging an agency’s violation of 40 U.S.C. § 3307 fell outside that
statute’s zone of interests because the statute’s “purpose is obviously to enable Congress to oversee

how the money it appropriates is spent”), aff’d, 883 F.3d 1378 (Fed. Cir. 2018); cf Sierra Club, 140 S. Ct.

at 1 (“Among the reasons” for granting stay of injunction, environmental plaintiffs “have no cause of

action to obtain review of” DoD’s compliance with an appropriations transfer statute).

81.     Moreover, allowing this suit to proceed would lead to “absurd consequences” by enabling

state governments to challenge the way in which federal agencies choose to spend their appropriated

funds based on unrelated concerns about the downstream impact such spending may have on state

agency budgets. Thompson, 562 U.S. at 176–77. Congress, when it appropriated annual funding to

DHS for border infrastructure construction, could not have intended to give every state or local

government arguably impacted by that spending a cause of action to sue. Notably, the States do not

identify any history or precedent in which a state government fell within the zone of interests of a

federal statute that simply appropriates funds to a federal government agency.

82.     Congress itself has ample tools to enforce its appropriations powers. See Nat’l Treasury Emp.

Union v. Campbell, 654 F.2d 784, 794 (D.C. Cir. 1981) (“Congress itself is in a position to monitor and

enforce its spending limitations. It is not for us to question the effectiveness of existing remedies and

infer additional remedies when Congress has so strongly indicated that no private remedy was

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intended.”). Indeed, this case starkly illustrates the concern that allowing outside parties to sue over

federal appropriations could conflict with the interests of Congress. The nonpartisan GAO—which

is headed by the Comptroller General, “an agent of the Congress,” Bowsher v. Synar, 478 U.S. 714, 731

(1986) (citation omitted), and charged with examining how federal funds are spent—recently

concluded that DHS did not unlawfully impound funds from its border infrastructure appropriations

while implementing the President’s Proclamation. See GAO Opinion at *5 (stating that DHS is “not

withholding funds from obligation or expenditure” and “[a]ny delayed expenditures stem from DHS

taking necessary steps to comply with statutory environmental and stakeholder consultation

requirements for these construction projects and do not constitute an impoundment”).                 The

independent arm of Congress with expertise on fiscal law issues thus rejected the same impoundment

argument the States are asserting in this case. See PI Mot. 5 n.3 (conceding the GAO’s opinion is

entitled to “special weight” in light of “its accumulated experience and expertise in the field of

government appropriations”) (quoting Nevada v. Dep’t of Energy, 400 F.3d 9, 16 (D.C. Cir. 2005)). In

these circumstances, where the GAO has spoken and Congress did not provide a direct cause of action

for parties to challenge routine agency spending practices, the Court should not permit such claims to

go forward, particularly when the States fall outside the zone of interests of the appropriations statutes

they seek to enforce.
83.     The States’ financial interests also do not fall within the zone of interests of the ICA. Passed

in 1974, see 2 U.S.C. §§ 681–688, the ICA “operates on the premise that when Congress appropriates

money to the executive branch, the President is required to obligate the funds.” See Congressional

Committees, B-329092, 2017 WL 6335684 at *1 (Comp. Gen. Dec. 12, 2017). Under the ICA, the

President must notify Congress when he proposes to withhold funds from obligation or expenditure,

either permanently or temporarily. See 2 U.S.C. §§ 684–685. The ICA establishes procedures for

the President to impound funds in two limited circumstances. First, the President may

temporarily withhold budget authority from obligation within a fiscal year by proposing a

“deferral.” 2 U.S.C. § 684. Second, the President may permanently cancel budget authority by

proposing a “rescission.” 2 U.S.C. § 683. In either case, the ICA requires the President to

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transmit a special message to Congress justifying the proposed action. 2 U.S.C. §§ 683–684.

84.     The ICA thus protects Congress’s power of the purse by ensuring the Executive Branch

incurs obligations in accordance with congressional appropriations and does not impound

funds absent appropriate congressional oversight. Nothing in the text or history of the ICA

evidences an intent to protect or regulate the financial concerns of state governments who incur costs

or lose tax revenue associated with federal immigration policies. The ICA is simply not concerned

with protecting the public fisc of state agencies like Driver’s License Division of the Texas Department

of Public Safety or the Missouri Department of Elementary and Secondary Education. See PI Mot.
38–40. The interests that the States assert here are far more attenuated from the ICA than prior cases

where the Supreme Court and Fifth Circuit concluded that plaintiffs cannot satisfy the zone-of-

interests test. See Lexmark Int'l, Inc., 572 U.S. at 131 (concluding that plaintiff raising a false advertising

claim under the Lanham Act falls outside the zone of interests because the statute protects a plaintiff’s

“commercial interest in reputation or sales” and not a “consumer who is hoodwinked into purchasing

a disappointing product”); I.N.S. v. Legalization Assistance Project of Los Angeles Cty. Fed’n of Lab., 510

U.S. 1301, 1305 (1993) (O’Connor, J., in chambers) (“The fact that the INS regulation may affect the

way an organization allocates its resources . . . does not give standing to an entity which is not within

the zone of interests the statute meant to protect.”); Moses, 778 F.2d at 271 (“We hold that neither the

Federal Housing Act nor the HUD regulation was intended directly to benefit either owners of low

income housing projects or parties bidding at the HUD mortgage auction.”).

85.     Other courts have concluded the ICA does not provide for a private cause of action.

See Pub. Citizen v. Stockman, 528 F. Supp. 824 & n.1 (D.D.C. 1981); Rocky Ford Hous. Auth. v. U.S. Dep’t

of Agric., 427 F. Supp. 118, 134 (D.D.C. 1977); Rogers v. United States, 14 Cl. Ct. 39, 50 (1987), aff’d, 861

F.2d 729 (Fed. Cir. 1988). The court in Stockman held that held that an organizational plaintiff did not

fall within the zone of interests of the ICA because the statute was “clearly enacted to safeguard

Congress’s interests, not those of private citizens.” 528 F. Supp. at 830 n.1. There, the plaintiff sought

to challenge budget deferrals issued by the Office of Management and Budget on which the

Comptroller General had yet to report to Congress. The court rejected that challenge, explaining that

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the ICA “does not expressly vest in any person besides the Comptroller General the right to bring

suit to enforce the Act’s provisions.” Id. at 827; see 2 U.S.C. § 687 (authorizing the Comptroller

General to bring suit in the United States District Court for the District of Columbia to require

“budget authority to be made available for obligation”); see also Rogers, 14 Cl. Ct. at 50 (1987)

(concluding that “this lawsuit does not state a cause of action for violation of the Impoundment

Control Act” because “an examination of the statute indicates that Congress did not intend to create

a private cause of action in cases of unauthorized impoundments”); Rocky Ford Hous. Auth., 427 F.

Supp. at 134 (same). And the court in Stockman rejected the plaintiff’s effort to proceed under the

APA, concluding that its analysis of the absent private right of action “pretermit[ted] any contention

that plaintiff’s interest in preserving the flow of appropriations is within the zone of interest to be
protected by the ICA.” Id. at 830 n.1. Here, the States’ financial and budgetary interests similarly fall

outside the zone of congressional interests that the ICA protects.

                2.      DHS Has Acted Consistent With The Requirements of its
                        Congressional Appropriations and the Impoundment Control Act.
86.     Even assuming the States have a cause of action, the States cannot demonstrate a likelihood

of success on the merits of their claims that DHS has unlawfully impounded funds in contravention

of the fiscal year 2020 and 2021 DHS Appropriations Acts or the ICA. See PI Mot. 24–29.

87.     The President and federal agencies, as a general matter, do not have the ability to impound or

otherwise prevent the expenditure of funds appropriated by Congress to carry out legislation. See U.S.

Dep’t of Justice Office of Legal Counsel, Memorandum Opinion by William H. Rehnquist on

Presidential Authority to Impound Funds Appropriated for Assistance to Federally Impacted Schools

at 8 (Dec. 1, 1969) (“With respect to the suggestion that the President has a constitutional power to

decline to spend appropriated funds, we must conclude that existence of such a broad power is

supported by neither reason nor precedent.”). Federal agencies therefore “must make funds available

for obligation unless otherwise authorized to withhold.” See Congressional Committees, B-329092,

2017 WL 6335684 at *1 (Comp. Gen. Dec. 12, 2017). Congress enacted the ICA to control

impoundments by the Executive Branch. See 2 U.S.C. § 682(a); see also General Accounting Office,

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A Glossary of Terms Used in the Federal Budget Process at 61 (Sept. 2005) (defining “impoundment”

as when federal officials, though action or inaction, withhold or delay the obligation or expenditure

of appropriations provided for projects or activities). But not every delay in the obligation or

expenditure of funds constitutes an unlawful impoundment or violation of the ICA. In passing the

ICA, Congress acknowledged that “the executive branch necessarily withholds funds on hundreds of

occasions during the course of a fiscal year” and such delays may result from the “normal and orderly

operation of the government.” City of New Haven, Conn. v. United States, 809 F.2d 900, 901 (D.C. Cir.

1987) (quoting H.R. 658, 93d Cong., 1st Sess. 41 (1971)). Indeed, the GAO has recognized that
“[l]egitimate programmatic delays may occur when the agency is taking reasonable and necessary steps

to implement a program, even though funds temporarily go unobligated.”             See Congressional

Committees, B-329092, 2017 WL 6335684 at *1 n.6 (Comp. Gen. Dec. 12, 2017) (citing instances of

design modifications to projects and low numbers of applicants for a program).

88.     GAO has also recognized a distinction between deferrals of funds by the Executive Branch

based on policy disagreements with Congress, which are prohibited by the ICA, and deferrals due to

legitimate “programmatic” reasons, which are not. See GAO, Principles of Federal Appropriations

Law, 4th ed., 2016 rev., ch. 2, p. 2-50. Accordingly, potential delays associated with determining how

best to execute projects consistent with the policy objectives of the Executive Branch are not

impoundments where the Executive has lawful discretion to choose how to execute the program. Any

such delay does not negate congressional authority to determine fiscal priorities; rather, it impacts

how, not whether, a project will be carried out by the Executive Branch.

89.     Further, the ICA “does not impose any specific requirements on the Executive Branch as to

the rate at which budget authority must be obligated or expended.” In re Henry M. Jackson, United

States Senate, B-200685, 1980 WL 14499 (Comp. Gen. Dec. 23, 1980). Nor is there any legal

requirement that funds be “fully obligated as soon as they first become available, regardless of any

necessary programmatic or administrative considerations.”         In re James R. Jones, House of

Representatives, B-203057 L/M, 1981 WL 23385 at *4 (Comp. Gen. Sept. 15, 1981). An agency is

permitted to take “the steps it reasonably believes are necessary to implement a program efficiently

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and equitably, even if the result is that funds temporarily go unobligated.” Id.


            a. DHS is Lawfully Executing its Fiscal Year 2020 Border Infrastructure Funds.

90.     Applying these principles here, DHS did not impound appropriated funds for border barrier

construction in fiscal year 2020 because none of those funds has been withheld from obligation. See

surpa at 10–14; Enriquez Decl. ¶¶ 11–38. Congress appropriated $1.375 billion to DHS in fiscal year

2020 “for the construction of barrier system along the southwest border.” DHS Appropriations Act,

2020, Pub L. No. 116-93, Div. D, § 209(a)(1), 133 Stat. at 2512. DHS obligated $1.32 billion of this

amount as of March 2021. 9 Enriquez Decl. ¶ 14. DHS utilized this money to fund four contracts

that would provide for the design and construction of approximately 70 miles border barrier system

in the Laredo Sector. Id. ¶¶ 15–18. At the time the President issued his Proclamation, CBP had not

acquired any of the land necessary to begin construction of the Laredo projects and CBP was in the

process of acquiring temporary rights of entry to conduct real estate surveys and appraisals. See id. ¶

21.
91.     As set forth in the DHS Plan, CBP is currently focused on conducting a thorough review and

replanning process for the Laredeo projects, including taking actions consistent with NEPA and

stakeholder outreach. See DHS Plan at 2–3. CBP will utilize contracts awarded with fiscal year 2020

barrier system appropriation funds for environmental planning and stakeholder engagement and

expects those actions will begin in the first quarter of 2022. Id. ¶ 23. CBP also intends to continue to

acquire temporary rights-of-entry that will permit CBP and its contractors to access property for the

purpose of conducting environmental planning actions. Id. These real estate activities have been, and

will continue to be, funded by DHS’s fiscal year 2020 appropriations. Id. ¶ 21.

92.     In light of the time required to complete environmental planning for the Laredo projects, and


        9
         Although a relatively small amount of money was not obligated at this time, there was no
impoundment of funds because prudent financial management often results in residual amounts of
money going unobligated to cover the costs of unanticipated liabilities and to avoid potential
violations of the Anti-Deficiency Act, 31 U.S.C. § 1341(a). See Matter of: Dep't of Com.-Application of the
Impoundment Control Act to Appropriations Enacted in Fiscal Years 2018 & 2019, B-331298, 2020 WL
7641195 at *4 (Comp. Gen. Dec. 23, 2020).
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to ensure that the government does not incur substantial additional delay and other costs while such

planning is carried out, CBP has modified two of the contracts to remove the construction component

and the Army Corps of Engineers has issued termination notices for the two other contracts. Id. ¶¶

26–27. Negotiations with the contractors over final termination and contract modification costs are

ongoing, and CBP will receive partial design packages for the Laredo projects. Id.

93.     As of December 6, 2021, CBP has obligated approximately $618 million of the fiscal year 2020

barrier system appropriation. Id. ¶ 28. CBP intends to use its available fiscal year 2020 barrier system

funds to conduct environmental planning, undertake robust consultation with stakeholders, and if

additional permanent land acquisition is necessary to complete projects contemplated by the DHS

Plan, CBP will initiate robust landowner engagement prior to acquisition. Id. ¶ 29.
94.     DHS thus has not unlawfully withheld its fiscal year 2020 appropriations from obligation or

expended these funds in a way that contravenes its statutory budget authority. Funds are currently

obligated on contracts necessary for environmental planning and barrier construction design for the

Laredo projects. Remaining unobligated funds are available for obligation until September 30, 2024,

and DHS intends to use the funds to complete additional environmental planning and stakeholder

consultation. Nothing in the ICA or any other statute requires that the funds be obligated or expended

in accordance with a specific rate over that time. Further, DHS’s decision to expend its funds in this

manner is consistent with the broad discretion Congress has provided to DHS in IIRIRA to undertake

border barrier construction. The programmatic decisions DHS makes as to how best to manage and

prioritize its funds—whether for environmental review, land acquisition, or construction—are not

unlawful impoundments, but rather prudent steps “to implement a program efficiently and equitably,

even if the result is that funds temporarily go unobligated.”         In re James R. Jones, House of

Representatives, B-203057 L/M, 1981 WL 23385 at *4.

95.     The States’ primary objection is that the DHS is not spending its funds on “actual construction

of border barrier,” PI Opp. at 13, but no provision of law restricts DHS’s expenditures only to ground-

disturbing construction activity. Expenditures for environmental planning and project review fall well

within the bounds of DHS’s permissible funding discretion under the necessary expense doctrine.

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This “rule of construction for appropriations statutes” governs situations where an appropriation for

a general purpose (i.e., border barrier system) “leaves open whether a specific proposed expenditure

is a legally authorized purpose for which appropriated funds may be expended.” U.S. Dep’t of Navy v.

Fed. Lab. Rels. Auth., 665 F.3d 1339, 1349 (D.C. Cir. 2012) (Kavanaugh, J.). “Under the necessary

expense doctrine, ‘an appropriation made for a specific object is available for expenses necessarily

incident to accomplishing that object unless prohibited by law or otherwise provided for.’” Id.

(quoting 1 GAO, Principles of Federal Appropriations Law at 4–20). Agencies are afforded deference

in making this determination and the rule ensures that agency spending is not “so attenuated as to
take it beyond that range of permissible discretion.” Id. (quoting GAO, Implementation of Army Safety

Program, B–223608 (Comp. Gen. Dec. 19, 1988)).

96.     There is no doubt that environmental planning and review is a necessary incident to border

wall construction. Such construction has the potential to impact plant and wildlife habitat, natural

resources, and flood prevention infrastructure.        See, e.g., DHS Response to Public Comments

Regarding the Construction of Border Wall Within Certain Areas in the Rio Grande Valley, Texas, 85

Fed. Reg. 23,983-01 (Apr. 30, 2020); Enriquez Decl. ¶¶ 39–52. DHS has a long history of addressing

these types of concerns as part of expending funds in furtherance of its border wall project

management and development process. See Cnty. of El Paso, 2008 WL 4372693, at *11 (explaining

DHS’s “comprehensive analysis of the potential environmental impacts”). Moreover, Congress was

well aware that DHS would undertake environmental planning when it appropriated funding for

border infrastructure projects and expressly required that DHS consult with stakeholders about

environmental impacts. See supra at 4–6. And for projects where DHS has not chosen to rely on a

waiver of environmental laws pursuant to IIRIRA, environmental planning is legally required to avoid

a violation of federal laws such as NEPA. The environmental and planning expenditures at issue here

are thus well within the “range of permissible discretion” afforded to DHS in the exercise of its

spending authority. Fed. Lab. Rels. Auth., 665 F.3d at 1349.

            b. DHS is Lawfully Executing its Fiscal Year 2021 Border Infrastructure Funds.

97.     DHS also has not unlawfully delayed the obligation of its fiscal year 2021 border infrastructure

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funds contrary to the terms of its appropriations statutes or the ICA. See supra at ¶¶ 23–36; Enriquez

Decl. ¶¶ 30–38.

98.      In fiscal 2021, Congress appropriated $1.375 billion to DHS for “for the construction of

barrier system along the southwest border” and gave DHS five years to obligate the funds. DHS

Appropriations Act, 2021, Pub L. No. 116-260, Div. F, 134 Stat. at 1452, 1456–57. As set forth in the

DHS Plan, DHS intends to use its fiscal year 2021 funds on various close-out and environmental

remediation activities at the former DoD project sites that are turned over to DHS as well as for other

contingency costs resulting from rescoping existing projects. See DHS Plan at 3–5. For these activities,

DHS generally intends to engage in standard environmental planning, including taking actions

consistent with NEPA. Id. at 4–5.
99.      As of December 6, 2021, DHS has obligated approximately $5.4 million dollars of its fiscal

year 2021 appropriation for various programmatic expenses, including contract costs for

environmental support services and stakeholder engagement. See Enriquez Decl. ¶ 32. CBP intends

to use fiscal year 2021 funds for environmental planning and stakeholder outreach for its next highest

priority barrier segments, which are located in the El Centro Sector in California. Id. ¶ 34. CBP has

awarded a contract using fiscal year 2021 barrier system appropriation funds for this work, which will

begin in the first quarter of 2022. Id.

100.     Additionally, CBP plans to spend its fiscal year 2021 funds on remediation and closeout of the

former DoD border barrier project sites. CBP has until September 30, 2025 to obligate these funds

and the obligation timing will be informed by several factors. Id. ¶¶ 35–38. First, the DoD contractors

will need to complete their safety work and demobilize from the project areas. Id. ¶ 38. Second, CBP

will need to complete its own study and assessment of the project areas after the DoD contractors

depart to determine what additional priority remediation activities need to be completed. Id. That

process is a necessary prerequisite to contact award and obligation of funds that will inform both the

scope of the work and the estimated costs. Id.

101.     There is nothing unlawful about DHS’s plan to expend its fiscal year 2021 appropriations in

this manner. In order to faithfully execute the law, DHS is permitted to determine how best to execute

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and implement its spending authority consistent with the broad statutory authority Congress provided

in IIRIRA. Indeed, the GAO has recognized that programmatic delays are lawful and appropriate

where an agency must take “necessary steps to implement a program even if funds temporarily go

unobligated.” The Honorable Barbara Boxer, B-290659, 2002 WL 1799692 (Comp. Gen. July 24,

2002); see also Walter E. Fauntroy, House of Representatives, B-204905 L/M, 1981 WL 23166 (Comp.

Gen. Nov. 2, 1981) (concluding that the Department of Education did not violate the ICA when it

delayed the obligation funds due to “factors relating to the efficient operation of the grant program”).

Project planning for a billion dollar appropriation is a necessary part of successful project

implementation. Such advance planning is particularly appropriate here, where IIRIRA grants broad

discretionary authority to DHS to construct border barriers and Congress gave DHS five years to

obligate the funds. Given the need to undertake appropriate environmental planning and stakeholder

consultation “prior to further construction,” DHS Plan at 2, DHS could not award contracts or start
construction activities using its fiscal year 2021 funds until that process is either fully complete or, at

minimum, nearing its end.

102.     By contrast, the States’ position that CBP must immediately expend funds on actual border

wall construction would lead to a scenario in which agencies would be forced to spend taxpayer funds

before they had even determined, as allowed within their statutory discretion, how best to do so. No

principle of federal appropriations law compels that result.

                3.      The GAO Agrees DHS is Lawfully Executing its Border Infrastructure
                        Funds.
103.     The GAO agrees with the foregoing analysis and concluded in June 2021 that DHS is acting

in accordance with both the ICA and its appropriations statutes in the execution of its border wall

funding. See GAO Opinion. The States cite the GAO Opinion on multiple occasions in their motion,

but fail to note that the GAO rejected arguments similar to those of the States. See PI Mot. 5, 11–12.

The States further concede the GAO’s opinion is entitled to “special weight” in light of “its

accumulated experience and expertise in the field of government appropriations.” Id. at 5 n.3 (quoting

Nevada v. Dep’t of Energy, 400 F.3d 9, 16 (D.C. Cir. 2005)); see Data Sys. Corp. v. Webster, 744 F.2d 197,

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201 (D.C. Cir. 1984) (Scalia, J.) (stating that the GAO reflects the “expert” view of an independent

arm of Congress on fiscal issues that courts should “prudently consider”). Although the GAO

decision is not binding on this Court, there is no basis for the Court to depart from the GAO’s well-

reasoned conclusions.

104.     In response to a complaint from a group of Senators that DHS had unlawfully impounded its

border wall infrastructure funds, the GAO conducted a thorough analysis of DHS’s execution of its

border wall appropriations between fiscal years 2018 and 2021. See GAO Opinion at *2–3.           The

GAO concluded that “neither the Proclamation nor its implementation violate the ICA.” The GAO
acknowledged that DHS had suspended construction of border wall projects funded with fiscal year

2018–2020 funds, but found that those actions were undertaken “in order to rescope the projects to

mitigate environmental damage and minimize the impact or border communities.” Id. at *1. In these

circumstances, the GAO concluded that “delays in spending these funds” were “programmatic delays,

not impoundments.” Id.; see id. at 4–5 (“Any delayed expenditures stem from DHS taking necessary

steps to comply with statutory environmental and stakeholder consultation requirements for these

construction projects and do not constitute an impoundment.”). Additionally, the GAO never

suggested, let alone concluded, that DHS’s use of its appropriations on environmental planning or

stakeholder consultation would violate either the ICA or fall outside of the scope of DHS’s permissible

spending authority.

105.     With respect to funds Congress appropriated in fiscal year 2021, the GAO similarly found that

DHS was engaged in responsible project planning for future border wall projects and had not

unlawfully impounded funds. See id. at 2, 5–7. Although DHS had not obligated any of its fiscal year

2021 funds at that time, the GAO nevertheless agreed that a delay caused by “steps DHS is taking to

ensure compliance with environmental, stakeholder consultation, and procurement statutes is a

programmatic delay, not an impoundment under the ICA.” Id. at 5. In addition, the GAO recognized

that DHS must have flexibility “to determine its project needs” in light of changed circumstances

subsequent to the enactment of the fiscal year 2021 appropriation, including the discontinuation of

“DOD participation in existing barrier construction” and DHS’s policy decision that future border

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barrier projects “will include standard environmental planning and compliance and robust stakeholder

consultation.” Id. at *6. The GAO thus concluded “there is not an impoundment of DHS’s fiscal

year 2021 barrier appropriation and no violation of the ICA with respect to these funds.” Id.

                 The States’ Constitutional Claims Fail.

106.     The States’ constitutional claims alleging violations of the Separation of Powers and the Take

Care Clause fare no better than their statutory claims. See PI Mot. 32–34. As a threshold matter, the

States lacks a cause of action and cannot satisfy the zone-of-interests requirement for their

constitutional claims. 10 See Valley Forge Christian Coll. v. Am. United for Separation of Church & State, Inc.,

454 U.S. 464, 475 (1982) (“[T]he Court has required that the plaintiff’s complaint fall within the zone

of interests to be protected or regulated by the statute or constitutional guarantee in question.”

(citation omitted)); Boston Stock Exch., 429 U.S. at 320–21 n.3 (applying the zone-of-interests

requirement to plaintiffs seeking to enforce the dormant Commerce Clause). Just as the States

financial interests are entirely unrelated to the interests protected by the statutes they invoke, see supra

at ¶¶ 76–85, their interests are also unrelated to the asserted constitutional limitations on Congress’s

power to authorize or appropriate funds for DHS to undertake border infrastructure projects.

107.     Additionally, the States cannot establish a likelihood of success on the merits of their

constitutional claims because “claims simply alleging that the President has exceeded his statutory

authority are not ‘constitutional’ claims.” Dalton, 511 U.S. at 473.          In Dalton, the Supreme Court

rejected the proposition that “whenever the President acts in excess of his statutory authority, he also

violates the constitutional separation-of-powers doctrine.” Id. at 471. Not “every action by the

President, or by another executive official, in excess of his statutory authority is ipso facto in violation

of the Constitution.”      Id. at 472.     In reaching this conclusion, the Supreme Court carefully

“distinguished between claims of constitutional violations and claims that an official has acted in


          The States bring their constitutional claims under the APA’s cause of action and an
         10

implied equitable cause of action. See PI Mot. 31. The zone-of-interest requirement applies to both
causes of action because it “is a ‘requirement of general application’” that “always applies and is never
negated.” Lexmark, 572 U.S. at 129 (emphasis in original) (quoting Bennett v. Spear, 520 U.S. 154,
163–64 (1997)).
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excess of his statutory authority.” Id. (collecting cases). The Constitution is implicated only if executive

officers rely on it as an independent source of authority to act or if the officers rely on an

unconstitutional statute. Id. at 473 & n.5.

108.     Neither of those situations applies to this case. DHS is executing its border wall plan pursuant

to congressional statutory authorization under IIRIRA and its border infrastructure appropriations,

not independent Article II authority. This case thus presents a sharp contrast with Youngstown Sheet &

Tube Co. v. Sawyer, 343 U.S. 579 (1952), in which the President directed the Secretary of Commerce to

seize the nation’s steel mills relying solely upon “the aggregate of his powers under the Constitution,”

and conceded the absence of statutory authority. Id. at 585-87. Further, the States have not suggested

that either the DHS appropriations acts or the ICA are themselves unconstitutional. Dalton’s

reasoning thus fully applies here and refutes the States’ argument that it has a constitutional claim or

cause of action. See Ctr. for Biological Diversity v. Trump, 453 F. Supp. 3d 11, 51–54 (D.D.C. 2020)

(dismissing constitutional claims challenging border wall construction based on Dalton). This case

concerns “simply” whether DHS has “exceeded [its] statutory authority” and “no constitutional

question whatever is raised”—“only issues of statutory interpretation.” Dalton, 511 U.S. at 473–74 &

n.6 (citation omitted).
109.     In advancing a constitutional claim based on the separation of powers, the States make the

same argument the Supreme Court rejected in Dalton. See PI Mot. 29–32. The States asserts that DHS

violated the separation of powers because it allegedly stopped spending its statutory border

infrastructure appropriations on actual border wall construction. See id. at 29–31. But that separation-

of-powers claim hinges entirely on whether DHS acted in accordance with the appropriations statutes

at issue in this case. The outcome of that question depends upon resolution of statutory claims and

does not involve any unique separation-of-powers principles. If the States’ theory were accepted,

every garden-variety action by a federal agency alleged to be in violation of a statutory provision would

also, ipso facto, violate the constitutional separation of powers. The Supreme Court foreclosed that line

of argument in Dalton.

110.     The States’ Take Care Clause claim similarly fails because it merely reasserts allegations of

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statutory violations in constitutional terms. See PI Mot. at 32–34. The Take Care Clause provides

that the President “shall take Care that the Laws be faithfully executed.” U.S. Const. art. II, § 3. The

alleged Take Care Clause violation in this case is based entirely on allegations that Defendants have

“refused to follow Congress’s commands in the 2020 and 2021” DHS appropriations acts. Id. at 32,

34. But Dalton bars the States’ attempt to transform allegations of statutory violations into separate

constitutional violations of the Take Care Clause. The States do not argue that Defendants could be

in compliance with the DHS appropriations statutes and the ICA, yet somehow violate the Take Care

Clause. The outcome of this case (to the extent it presents a justiciable controversy at all) thus turns
on the meaning of the relevant statutes—a purely statutory dispute with no constitutional dimension.

111.     Moreover, the States do not cite any history or precedent for using the Take Care Clause as a

mechanism to obtain affirmative relief against the President or Executive Branch agencies.

Recognizing such a claim in this context would raise its own separation powers problems, as the Take

Care Clause furnishes no basis for affirmative relief in an Article III court. For the Judicial Branch to

undertake such an inquiry would express a “lack of the respect due” to the Nation’s highest elected

official, Baker v. Carr, 369 U.S. 186, 217 (1962), by assuming judicial superintendence over the exercise

of Executive power that the Clause commits to the President. Indeed, the Supreme Court has

recognized that “the duty of the President in the exercise of the power to see that the laws are faithfully

executed” “is purely executive and political,” and not subject to judicial direction. Mississippi v. Johnson,

71 U.S. 475, 499 (1866); see id. at 501 (stating that federal courts lack jurisdiction to “enjoin the

President in the performance of his official duties”); see also Dalton, 511 U.S. at 469 (concluding that

actions of the President are not reviewable under the APA).                         No court has read

the Take Care Clause as opening the door to a free floating cause of action for any plaintiff to

challenge the manner in which the President or his subordinates execute the law.

112.     In any event, both the President and DHS have taken care to faithfully execute the relevant

appropriations acts. The President’s Proclamation directs the Secretary of Defense and the Secretary

of Homeland Security “to ensure that funds appropriated by the Congress fulfill their intended

purpose” and mandates that federal agencies continue “the expenditure of any funds that the Congress

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expressly appropriated for wall construction, consistent with their appropriated purpose.”

Proclamation, 86 Fed. Reg. at 7226. Compliance with legal requirements is a theme running throughout

the text of the Proclamation. Accordingly, there is no basis to conclude that the President has directed

his subordinates to violate any law or act in a way that is contrary to basic appropriations principles.

See id. (“This proclamation shall be implemented consistent with applicable law”); see also Building &

Constr. Trades Dep’t, AFL-CIO v. Allbaugh, 295 F.3d 28, 33 (D.C. Cir. 2002) (stating that when the

President “directs his subordinates how to proceed in administering federally funded projects, but

only ‘to the extent permitted by law,”’ the consequence is that “if an executive agency . . . may
lawfully implement the Executive Order, then it must do so; if the agency is prohibited, by statute or

other law, from implementing the Executive Order, then the Executive Order itself instructs the

agency to follow the law.”).

         The States Will Not Be Irreparably Injured Absent a Preliminary Injunction.
113.     Even when a plaintiff can show it is likely to succeed on the merits of its claim in a preliminary

injunction posture, it must also show that it faces a “likelihood of substantial and immediate

irreparable injury” in the absence of the injunction. O’Shea v. Littleton, 414 U.S. 488, 502 (1974).

Otherwise, there is no reason for the Court to enter this extraordinary remedy prior to a full

adjudication of this case. The States were required to show that such an irreparable injury is “likely in

the absence of an injunction.” Winter v. Nat. Res. Def. Council, 555 U.S. 7, 22 (2008) (emphasis

omitted). 11 They have failed to do so here for a number of reasons.

114.          To begin, the States’ irreparable harm argument rests almost entirely on its flawed analysis

of Article III standing. Relying on Texas I and Texas II, the States assume that their irreparable harm

simply follows from their arguments about standing. PI Mot. 47–48. That is not enough. Even if

one accepted that the States have standing, “that does not necessarily mean that the Plaintiff States

          Cases predating Winter which state a preliminary injunction can be entered when there is a
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“significant threat of injury from the impending action,” Humana, Inc. v. Avram A. Jacobson, M.D.,
P.A., 804 F.2d 1390, 1394 (5th Cir. 1986) must be read consistent with the Supreme Court’s
guidance in Winter that preliminary injunctions cannot be entered based on a mere “possibility of
irreparable harm.” Winter, 555 U.S. at 21 (quotation marks omitted). Injunctive relief is only
appropriate if irreparable harm is “likely.” Id. at 22.
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automatically have proven that they will suffer irreparable harm—a necessary element for obtaining a

preliminary injunction.” Texas v. United States, 328 F. Supp. 3d at 737. For all of the reasons

Defendants have already discussed with respect to standing, see supra at ¶¶ 42–51, the States have failed

to show that they are likely to suffer any injury as a result of policy changes with respect to border

barrier construction, much less the sort of “substantial and immediate” injury that would justify entry

of a preliminary injunction. In particular, Defendants note that they have until September 30, 2024

to obligate fiscal year 2020 border wall funding, and September 30, 2025 to obligate fiscal year 2021

money. The threat of these funds lapsing and becoming unavailable for obligation is many years off,
and nowhere in the States’ argument do they identify a duty to expend border barrier funds at some

arbitrarily faster pace.

115.     The weakness of the States’ assertions of irreparable harm is underscored by their delay in

bringing this case and filing this motion. Delay militates against granting a preliminary injunction

because it “demonstrat[es] that there is no apparent urgency to the request for injunctive relief.”

Gonannies, Inc. v. GoAuPair.Com, Inc., 464 F. Supp. 2d 603, 609 (N.D. Tex. 2006) (quoting Wireless Agents,

L.L.C. v. T–Mobile USA, Inc., 2006 WL 1540587, *3 (N.D. Tex. June 6, 2006) (internal citations and

punctuation omitted)); see also 11A Charles A. Wright, Arthur R. Miller, et al., Federal Practice and

Procedure § 2948.1 (3d ed.) (“A long delay by plaintiff after learning of the threatened harm also may

be taken as an indication that the harm would not be serious enough to justify a preliminary

injunction.”). Although President Biden issued the Proclamation in January, and DHS released its

plans for implementing the policies of the Proclamation in June, the States waited until October to

file suit. That delay is both inconsistent with the States’ insistence that the Proclamation created the

current conditions at the border and with their assertions that an injunction is needed immediately,

rather than at the end of merits proceedings. Whatever else may be made of the States’ legal arguments

and assignations of harm, they are not entitled to having anything done immediately, and that alone is

grounds for denying this motion.




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          The Balance of Equities Favors the Defendants.
116.     The third and fourth requirements for issuance of a preliminary injunction—the balance of

harms and whether the requested injunction will disserve the public interest—“merge when the

Government is the opposing party.” Nken, 556 U.S. at 435. Defendants’ interests in ensuring that

future border barrier projects mitigate potentially harmful impacts on the environment, border

communities, and landowners “plainly outweigh[]” the interests in taxing government contractors and

minimizing social services expenditures for immigrants. Winter, 555 U.S. at 26, 33.

117.     The DHS Plan commits Defendants, particularly CBP, to engaging in additional

environmental planning with respect to projects in the Laredo sector that are being funded by fiscal

year 2020 money. Enriquez Decl. ¶¶ 40–47. This planning is “needed . . . to ensure that CBP has a

complete understanding of the potential impacts of those projects.” Id. ¶ 40. The planning will help

adapt the barrier system to “the urban and rural environments where it would be situated” in the

Laredo sector; minimize impact on “existing critical infrastructure such as power lines, irrigation lines,

or other municipal infrastructure”; and ensure the system “does not create or exacerbate flooding

hazards” or “impede transboundary waterflow.” Id. ¶¶ 41–43. Further planning will also assist CBP

to “avoid or minimize impacts to natural, historic, and cultural resources” that could be affected by

the border wall network. Id. at ¶ 44. CBP has similar objectives in mind with respect to potential

projects in the El Centro using fiscal year 21 funds. For these projects, failure to engage in

“environmental planning and stakeholder outreach” would not only “make it more difficult for CBP

to avoid or minimize impacts” from construction, but also “certainly result in additional litigation”

regarding compliance with statutes like “NEPA, the Endangered Species Act, and the National

Historic Preservation Act.” Id. ¶ 48; see also id. ¶¶ 51–52. Because those projects include “a mix of

federal and private land,” CBP needs to engage in consultation and land acquisition activities with

private owners, as well as planning activities with other governmental partners to mitigate impact of

the border wall network on the environment and existing infrastructure. Id. ¶¶ 49–50. Both

Defendants and the public at large will benefit from CBP’s efforts to engage in this planning before

initiating further border barrier construction.

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118.     These interests significantly outweigh the States’ interest in forcing Defendants to resume

construction before this planning and consultation takes place. They raise two substantive arguments

about the equities, but neither has merit. First, the States assert that Defendants “have no legitimate

interest in the implementation of an unlawful Proclamation” and that a preliminary injunction serves

the public’s interest in Defendants following the law, PI Mot. 49–50, but as explained, there is nothing

unlawful about Defendants’ actions, even assuming the States have a basis to challenge them in this

Court. Second, the States assert that the public’s interest in deterring unlawful immigration weighs in

their favor, id. at 50, but the States’ equities in this case are limited to the fiscal harms that form the

basis of their lawsuit. Their interests in collecting extra franchise taxes or minimizing expenditures on

social services are only remotely connected to the policy at issue in this case, and do not give rise to

Article III standing, much less irreparable harm or an equitable interest that would justify the

extraordinary remedy of a preliminary injunction.
119.     Finally, the States argue, separate from their interests in having an injunction entered, that

there is no prejudice to the Defendants “from a delayed implementation” of their border barrier

policies. Id. at 49. That gets the equities of an injunction backwards. The advance planning work

Defendants intend to do is critical to preventing harm to the public and border communities before

construction begins. By contrast, there is no prejudice whatsoever to the States with respect to the

appropriations they challenge if Defendants’ planning activities proceed while this case is resolved on

the merits. Congress did not require border barrier funds to be spent any earlier than 2024 for fiscal

year 2020 funds and 2025 for fiscal year 2021 funds. Undertaking the planning outlined in the DHS

Plan is completely consistent with Congress’s wishes and will serve the public interest.

         The Requested Injunction Is Overbroad and Unworkable.
120.     The Court should also reject the States’ request for a sweeping nationwide injunction that

would enjoin Defendants, “on a nationwide basis, from enforcing and implementing the January 20

Proclamation.” See PI Mot., Proposed Order. “A plaintiff’s remedy must be tailored to redress the

plaintiff’s particular injury,” Gill v. Whitford, 138 S. Ct. 1916, 1934 (2018), and “injunctive relief should


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be no more burdensome to the defendant than necessary to provide complete relief to the plaintiffs,”

Madsen v. Women’s Health Ctr., Inc., 512 U.S. 753, 765 (1994) (citation omitted). A “district court thus

abuses its discretion if it does not ‘narrowly tailor an injunction to remedy the specific action which

gives rise to the order.’” O’Donnell v. Harris Cnty., 892 F.3d 147, 163 (5th Cir. 2018) (quoting John Doe

# 1 v. Veneman, 380 F.3d 807, 818 (5th Cir. 2004)). Accordingly, even if this Court were to grant the

States’ a preliminary injunction, it should refuse the States’ request to issue a nationwide injunction

and, instead, limit any injunction to Defendants’ border wall activities in the State of Texas.

121.     “[I]n recent years the Supreme Court has repeatedly stayed nationwide injunctions that
prevented the Executive Branch from pursuing its immigration policies.” Texas v. United States, 14

F.4th 332, 341 (5th Cir. 2021) (citing cases), vacated on rehearing en banc, 2021 WL 5578015 (5th Cir.

Nov. 30 2021). Nationwide injunctions “take a toll on the federal court system—preventing legal

questions from percolating through the federal courts, encouraging forum shopping, and making every

case a national emergency for the courts and for the Executive Branch.” Trump v. Hawaii, 138 S. Ct.

2392, 2425 (2018) (Thomas, J., concurring); see Dep’t of Homeland Sec. v. New York, 140 S. Ct. 599, 600-

01 (2020) (Gorsuch, J., concurring in grant of stay) (stating that nationwide injunctions raise serious

separation of powers concerns, hamper orderly judicial resolution of issues within and across cases,

and improperly disadvantage the Federal Government). While the Fifth Circuit has previously stated

“it is not beyond the power of a court, in appropriate circumstances, to issue a nationwide injunction,”

Texas I, 809 F.3d at 188, there is no mandatory requirement to issue such relief in every case touching

on immigration matters. Moreover, when the Fifth Circuit has granted nationwide relief in the past,

it has relied upon the need to ensure “uniform” application of federal immigration laws to various

individuals across the country. Id. at 187–88 (stating that “a geographically-limited injunction would

be ineffective because DAPA beneficiaries would be free to move among states”). But that uniformity

interest is not present here. This case focuses solely on DHS’s execution of its spending authority; it

does not implicate the “unified system” of immigration laws established by Congress or the need to

ensure immigrants receive the same status in different parts of the country. Id. at 188 (internal

quotations and italics omitted). There is nothing odd or anomalous about border barrier planning,

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land acquisition, and construction activities occurring in some states, but not others.

122.     Further, a nationwide injunction in this case would be inappropriate because it would affect

many parties who are not before the court, including other border States and landowners in those

States, thereby exceeding this Court’s authority under Article III and violating longstanding principles

governing equitable relief. See Rhode Island v. Massachusetts, 37 U.S. (12 Pet.) 657, 718 (1838) (stating

that the equitable power of Article III courts extends “to render a judgment or decree upon the rights

of the litigant parties” consistent with the exercise of such powers at common law or in English courts

of equity). California and New Mexico have filed their own lawsuits challenging border wall

construction in their respective territories, see supra at ¶ 16, and Texas and Missouri should not be

permitted to superintend border wall construction activities in those States or for the rest of the

country through a single district court order.
123.     The proposed nationwide injunction enjoining implementation of the President’s

Proclamation also could be interpreted to cover the border wall activities of non-party federal agencies

whose actions are not challenged in this case. As explained above, both the Department of Defense

and Department of the Treasury funded border wall construction activities using funds appropriated

to those agencies. Plaintiffs do not challenge those agencies’ decisions to cease funding border wall

construction, thus any injunction should exclude from its scope the actions of the Department of

Defense and the Department of the Treasury. Nor is there any basis for an injunction to run against

the President himself. The Supreme Court recognized over 150 years ago in Mississippi v. Johnson that

federal courts lack jurisdiction to “enjoin the President in the performance of his official duties.” 71

U.S. 475, 501. And the Court reaffirmed that principle more recently in Franklin v. Massachusetts, 505

U.S. 788, 802-03 (1992) (plurality opinion).

124.     At a minimum, the States are not entitled to any broader injunction unless they can show “a

substantial likelihood that a geographically-limited injunction would be ineffective.” Texas I, 809 F.3d

at 188. The States do not even attempt to meet that standard. The States simply point to raw numbers

of immigrants who reside in Texas or Missouri and then speculate that they arrived there by traversing

areas of the southern border without barriers. See PI Mot. 36–37. But immigrants arrive in this

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country through various ways other than through unfenced areas of the border, including through

airports and other designated ports of entry. There is no evidence before the Court to draw a

conclusion that re-starting barrier construction activities in New Mexico, Arizona, or California will

somehow shut off potential pathways in those states that immigrants might use in the future to settle

in Texas or Missouri, thereby increasing the budgets of the States’ social services agencies. Brewer v.

Landrigan, 562 U.S. 996 (2010) (“speculation cannot substitute for evidence”); Holland Am. Ins. Co. v.

Succession of Roy, 777 F.2d 992, 997 (5th Cir. 1985) (stating that “[s]peculative injury is not sufficient”

to award preliminary injunction).
125.     In addition to the problems associated with the nationwide aspect of the States’ proposed

injunction, the States also seek an “obey-the-law” injunction that courts, including the Fifth Circuit,

routinely reject as illusory and inadequate in terms of providing fair notice as to the conduct that is

enjoined. See Payne v. Travenol Lab’ys, Inc., 565 F.2d 895, 897 (5th Cir. 1978); see also SEC v. Goble, 682

F.3d 934, 949 (11th Cir. 2012); City of N.Y. v. Mickalis Pawn Shop, LLC, 645 F.3d 114, 144 (2d Cir.

2011); Gilday v. Dubois, 124 F.3d 277, 287 (1st Cir. 1997). This type of vague injunction fails to comply

with the requirements of Federal Rule of Civil Procedure 65(d), which requires that an injunction

“state its terms specifically” and “describe in reasonable detail—and not by referring to the complaint

or other document—the act or acts restrained or required.” The Fifth Circuit has explained that “an

ordinary person reading the court’s order should be able to ascertain from the document itself exactly

what conduct is proscribed.” Scott v. Schedler, 826 F.3d 207, 211 (5th Cir. 2016).

126.     The States’ proposed injunction selectively copies certain language from DHS’s fiscal year

2020 and 2021 appropriations statutes and would direct Defendants to “enforce,” “implement,”

“obligate and spend funds appropriated for ‘construction of barrier system along the southwest

border.’” See PI Mot., Proposed Order. But as explained above, Defendants maintain that they are

already in the process of complying with all relevant appropriations statutes, so it is unclear what the

proposed injunction they seek would require Defendants to do. The generality of the injunction also

poses significant compliance problems. The injunction excludes language from the appropriations

that gives Defendants until September 30, 2024, at the earliest, to obligate the funds appropriated for

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border barrier construction, so it is unclear to what extent the injunction requires immediate action or

if the time frame imposed by Congress continues to apply. The injunction also does not address

whether its commands are in derogation of other statutes Defendants would typically comply with

prior to the obligation or expenditure of funds, such as the Federal Acquisition Regulation, 48 C.F.R.

§ 1 et seq., or the Competition in Contracting Act, 10 U.S.C. § 2301 et seq.

127.     There is no good solution to the problems created by the injunction’s generality. Spelling out

in more detail what would constitute “compliance” would require the Court to don a hard hat and

take on the role of project manager for border barrier projects nationwide. For example, the Court

would have to decide the appropriate amount of time and money Defendants spend on environmental

planning and preparation activities in advance of construction across the entire southwest border.

There are no standards in any of the sources of law the States rely upon that provide a basis for the

Court to oversee the day-to-day activities of CBP officials in this manner and direct, by way of an

injunction, what types expenses those officials can and cannot incur. The States cite to no history or

precedent where a court issued a sweeping preliminary injunction micro-managing an agency’s

spending practices similar to the one they seek here. This case should not become the first.
128.     Finally, there is no basis for the Court to order Defendants to rescind the cancellation of

border wall construction contracts. See PI Mot., Proposed Order. Texas and Missouri are not parties

to the contracts, thus they have no standing to seek their enforcement. “A third party may only sue

to enforce a contract it did not sign when the parties to the contract entered the agreement with the

clear and express intention of directly benefitting the third party.” Oubre v. Schlumberger, Ltd., 684 F.

App’x 424, 425 (5th Cir. 2017) (internal quotation omitted). The States cannot meet that high standard

and have not established that border wall contracts were clearly intended to protect the States’ budget

and tax interests. See Physicians ACO, LLC v. Computer Scis. Corp., No. 4:16-CV-1293, 2017 WL

3187609, at *1 (S.D. Tex. July 26, 2017) (recognizing “the high bar” for “third-party beneficiary status”

in “government contracts”).




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                                           CONCLUSION

129.     For the foregoing reasons, Plaintiffs’ motion for a preliminary injunction should be denied.

         Dated: December 8, 2021                        Respectfully submitted,

                                                        BRIAN M. BOYNTON
                                                        Acting Assistant Attorney General

                                                        ALEXANDER K. HAAS
                                                        Director, Federal Programs Branch

                                                        ANTHONY J. COPPOLINO
                                                        Deputy Director, Federal Programs Branch

                                                         /s/ Michael J. Gerardi
                                                        ANDREW I. WARDEN
                                                        Senior Trial Counsel
                                                        MICHAEL J. GERARDI (D.C. Bar
                                                        #1017949)
                                                        Trial Attorney / Attorney-in-Charge
                                                        U.S. Department of Justice
                                                        Civil Division, Federal Programs Branch
                                                        1100 L St. NW, No. 122212
                                                        Washington, D.C. 20005
                                                        Tel: (202) 616-0680
                                                        Fax: (202) 616-8470
                                                        E-mail: michael.j.gerardi@usdoj.gov




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                               REQUEST FOR ORAL ARGUMENT

        Pursuant to Local Rule 7.5.A., Defendants believe oral argument would be helpful to the Court

and respectfully request the opportunity to present oral argument in support of this motion.

                                                          /s/ Michael J. Gerardi
                                                          MICHAEL J. GERARDI

                                   CERTIFICATE OF SERVICE

        I hereby certify that on December 8, 2021, I electronically filed a copy of the foregoing.

Notice of this filing will be sent via email to all parties by operation of the Court’s electronic filing

system. Parties may access this filing through the Court’s CM/ECF System.

                                                          /s/ Michael J. Gerardi
                                                          MICHAEL J. GERARDI




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